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                  UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA


BRIANNA BOE, et al.,                )
    Plaintiffs,                     )
                                    )
v.                                  )           Case No. 2:22-cv-0184-LCB
                                    )
STEVE MARSHALL, et al.,             )
    Defendants.                     )




                   DECLARATION OF BRUCE A. GREEN
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       I, Bruce A. Green, declare as follows:

       1.      I am the Stein Chair of Law at Fordham Law School, where I direct the

Stein Center for Law and Ethics. I have been retained by Kirkland & Ellis LLP on

behalf of James Esseks, Carl Charles, and LaTisha Gotell Faulks (collectively, along

with other lawyers from their respective organizations, “Walker Counsel”), who

served as counsel for the plaintiffs in Walker v. Marshall. I was tasked with

providing an expert opinion in this case on the issues identified in the Court’s Order

to Show Cause, dated February 21, 2024 (the “Order”), and the Court’s

Supplemental Orders to Show Cause, dated May 1, 2024. 1

       2.      My qualifications to provide expert opinions on questions of lawyers’

professional conduct in this case are set forth more fully in my curriculum vitae,

which is attached hereto as Appendix A. Other than the legal authorities cited

herein, the materials that I relied upon in reaching my conclusions are listed in

Appendix B. My recent expert testimony is provided in Appendix C.

       3.      I have been a law professor at Fordham University since 1987. I have

served as a law clerk to both Justice Thurgood Marshall of the Supreme Court of the

United States and Judge James L. Oakes of the United States Court of Appeals for

the Second Circuit. I was also Assistant United States Attorney for the Southern


1
       Because the Supplemental Orders to Show Cause as to James Esseks, LaTisha Gotell
Faulks, and Carl Charles concern the same conduct and legal issues identified in the original Order
to Show Cause, my citations are to the original Order and I have not distinguished between them.
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District of New York, eventually serving as Deputy Chief and then Chief of the

Criminal Division’s appeals unit.

      4.    At Fordham, I have regularly taught courses on lawyers’ professional

responsibility. I currently teach courses on both Professional Responsibility and

Ethics in Criminal Advocacy.         Additionally, I co-authored a casebook on

professional responsibility for contemporary legal practice. See Jefferson, Pearce,

Green, et al., Professional Responsibility: A Contemporary Approach (5th ed. 2023).

      5.    I have organized or co-organized numerous conferences and other

programs for legal academics and practitioners on issues of lawyers’ professional

responsibility, and I speak frequently at Continuing Legal Education programs and

academic programs on this subject.

      6.    I have written extensively on lawyers’ professional conduct in both

academic and professional publications, a list of which is set forth in Appendix A.

      7.    I have engaged extensively in professional work relating to lawyers’

professional conduct, much of it involving the drafting, interpreting or enforcement

of professional conduct rules. On the national level, I currently chair both the

American Bar Association Standing Committee on Ethics and Professional

Responsibility and the Multistate Professional Responsibility Examination drafting

committee. I previously chaired the ethics committees of both the American Bar

Association Litigation Section and the American Bar Association Criminal Justice


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Section as well as the Section on Professional Responsibility of the Association of

American Law Schools. Further, I am a past chair of the New York City Bar’s

Committee on Professional Ethics, and I am a past chair and current member of the

New York State Bar Association’s Committee on Professional Ethics.

      8.     I occasionally testify as an expert witness, give advice, draft amicus

briefs, and render other professional services on issues of lawyers’ professional

conduct. When serving as an expert witness, in this case and others, I render

opinions in my individual capacity and do not speak on behalf of any of the entities

with which I am, or have been, associated.

      9.     I have been asked to address two questions – (1) whether Walker

Counsel engaged in sanctionable misconduct by allegedly seeking to avoid the

random judicial assignment; and (2) whether they engaged in sanctionable

misconduct by dismissing the action under Rule 41 without first communicating

with or obtaining the approval of their clients.

      10.    I have reached the following opinions on these questions:

             1. Walker Counsel did not engage in impermissible, sanctionable judge
                shopping outside the bounds of a responsible attorney’s practice or
                standards within the legal profession.

             2. Walker Counsel reasonably and adequately communicated with their
                clients, consistent with the expectations and practices of a
                reasonable attorney and consistent with standards in the legal
                profession.


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 I.     Walker Counsel Did Not Engage in Impermissible, Sanctionable Judge
        Shopping Outside the Bounds of a Responsible Attorney’s Practice or
        Standards within the Legal Profession.

   A. “Judge Shopping” Allegations and Facts.

        11.   On information and belief, including based on my review of the record

materials, following Alabama’s adoption of the Vulnerable Child Compassion and

Protection Act (SB 184) in April 2022, a number of legal advocacy organizations

and their clients initiated litigation in Alabama’s federal courts seeking to preserve

healthcare options in Alabama for transgender children and their families. The

Walker plaintiffs, represented by lawyers from the ACLU, ACLU of Alabama,

Lambda Legal, the Transgender Law Center, and Cooley LLP filed suit in the Middle

District of Alabama on Monday, April 11, 2022. In response to the “Related Case(s)

If Any” question on the civil cover sheet (a standard form called the “JS-44”), Walker

Counsel disclosed that their lawsuit was “related” to Corbitt v. Taylor, an action

before Judge Thompson challenging a state policy requiring transgender people to

disclose medical information to obtain a driver’s license, which was then on appeal

in the United States Court of Appeals for the Eleventh Circuit. After Walker was

initially randomly assigned to Chief Judge Marks, Walker Counsel moved to have it

reassigned to Judge Thompson upon learning that the related case designation did

not mean that the related case determination would be initially reviewed by Judge

Thompson.

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       12.     On Friday, April 8, 2022, the business day prior to the filing of Walker,

a different group of legal advocacy organizations and their clients seeking to pursue

a similar objective filed Ladinsky v. Ivey in the Northern District of Alabama, which

was ultimately, randomly assigned to Judge Axon. Because Ladinsky was the first-

filed case, Chief Judge Marks issued an order to show cause why Walker should not

be transferred to the Northern District where Ladinsky was pending. Walker Counsel

thereafter withdrew their motion to reassign their case to Judge Thompson and

instead consented to transfer to the Northern District on Thursday, April 14, 2022.

The following day, Friday, April 15, 2022, both Walker and Ladinsky were

reassigned to Judge Burke, who issued an order requiring the parties to appear for a

court conference the next business day, Monday, April 18, 2022. Confused by the

process of judicial assignments, uncertain about their judicial draw, and concerned

that there was limited time in which to dismiss the action under Fed. R. Civ. P.

41(a)(1)(A)(i) 2 before the State served an answer, as well as potential logistical

hurdles in appearing for the court-ordered conference on short notice on the Monday

following a major holiday weekend, Walker Counsel filed a notice of voluntary

dismissal on Friday April, 15, 2022. Ladinsky Counsel did the same soon after.

Thereafter, with the understanding that the Ladinsky group likely intended to refile


2
   This provision generally provides that “the plaintiff may dismiss an action without a court
order by filing . . . a notice of dismissal before the opposing party serves either an answer or a
motion for summary judgment.”

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a lawsuit, Walker Counsel in discussions with their clients decided not to refile the

Walker action. The Ladinsky group filed a new lawsuit, Eknes-Tucker v. Marshall,

on Tuesday, April 19, 2022, which was assigned to Judge Burke. 3


    B. “Judge Shopping” Legal Background.

       13.     The term “judge shopping” has no fixed meaning. The panel’s Final

Report of Inquiry uses the term to refer to lawyers’ “attempt[] to circumvent a court’s

random case assignment” (Report at 2), that is, to lawyers’ efforts to have a case

heard by a judge whom they favor or to avoid one whom they disfavor. However,

conduct that might be characterized as judge shopping is not necessarily improper,

much less punishable.          As discussed below, judge shopping is not always

sanctionable and can be permissible and legitimate in some circumstances.

       14.     Courts rarely sanction lawyers who engage in judge shopping. In many

instances, it is professionally permissible—indeed, an aspect of competent

advocacy—for lawyers to employ available judicial procedures to make it more

likely that a favorable judge presides over the lawsuit that they filed or are defending.

The conventional judicial response to concerns about judge shopping has not been

punishment of individual lawyers for pursuing an objective that courts may consider

undesirable but to alter judicial procedure to prevent (or tolerate) judge shopping.



3
    Eknes-Tucker v. Marshall has since been restyled as Boe v. Marshall, which I understand, based
on the Order, is also the present docket related to the allegations against Walker Counsel.
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This is, in part, because lawyers are permitted, if not professionally obligated, to use

lawful means to achieve their clients’ objectives, including by judge shopping when

doing so is not contrary to law, rules or decisions. Cf. Alabama Rules of Pro.

Conduct (“Alabama Rules”), Rule 1.3, cmt. (“A lawyer . . . may take whatever lawful

and ethical measures are required to vindicate a client’s cause or endeavor. A lawyer

should act with commitment and dedication to the interests of the client and with

zeal in advocacy upon the client’s behalf.”). Responsible attorneys may differ in

whether they undertake particular procedures to influence judicial assignments when

judges have not clarified whether those measures are or are not forbidden.

      15.    Even when lawyers engage in conduct that could, retrospectively, be

considered impermissible judge shopping, those lawyers have not necessarily done

so with an awareness that the conduct in question is wrongful, as is required to

establish “bad faith.” As explained in Fletcher v. Ben Crump Law, PLLC, No. 5:21-

cv-1433-LCB, 2023 U.S. Dist. LEXIS 72672, *12-13 (N.D. Ala. Apr. 26, 2023)

(Burke, J.) (citations and internal quotation marks omitted), “‘[b]ad faith’ is defined

as not simply bad judgment or negligence, but rather it implies the conscious doing

of a wrong because of dishonest purpose or moral obliquity; . . . it contemplates a

state of mind affirmatively operating with furtive design or ill will.”      Given the

uncertainty of the law regulating judge shopping, as discussed below, and the

imperative that lawyers engage in zealous advocacy in pursuit of the best result for


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their clients, it should be rare that efforts to secure a favorable judge will be

undertaken in bad faith, as required to justify the imposition of sanctions pursuant to

a court’s inherent authority.

       16.    Recently, the United States Judicial Conference took highly publicized

action illustrating both that judge shopping within the law and rules is not punishable

by the federal courts and that, to prevent this conduct, courts must ordinarily change

the rules.     Since the last presidential election, the federal government has

documented that the Attorney General of Texas has repeatedly circumvented random

case assignment by filing actions challenging federal law and federal government

action in divisions in which there is a single judge to whom the case will almost

assuredly be assigned. 4       The state’s Attorney General acknowledged that this

procedural course was designed to contravene the random judicial assignment

process.5 Throughout the time that state government lawyers persistently and openly

exploited the procedural opportunity afforded them to select a favored judge to

preside over nationally important lawsuits, no court or disciplinary authority held

that these lawyers were acting in bad faith or engaged in sanctionable misconduct.

In March 2024, evidently in response, the Judicial Conference adopted a policy

designed to prevent judge shopping as undertaken by lawyers for the State. The new


4
   Supplemental Brief in Support of Motion to Transfer, State of Texas v. Dep’t of Homeland Sec.,
No. 6:23-cv-00007, ECF No. 74 (S.D. Tex.), Feb. 28, 2023.
5
   Supplemental Brief, supra n.4, at 1.
                                               8
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policy calls for district-wide random selection of federal district judges in cases in

which the plaintiff seeks declaratory judgment or injunctive relief to bar or mandate

federal or state action. In response, some members of Congress have discouraged

the federal district court from adopting the prescribed procedural change, evidently

believing that judge shopping should continue in certain kinds of cases.

       17.    To give a related example, Chief Justice Roberts noted in his 2021 Year

End Report on the State of the Judiciary that plaintiffs’ lawyers had been exploiting

a similar opportunity to select a favored judge in patent cases. The Chief Justice

acknowledged that “Senators from both sides of the aisle have expressed concern

that case assignment procedures allowing the party filing a case to select a division

of a district court might, in effect, enable the plaintiff to select a particular judge to

hear a case.”6 No court or disciplinary authority held that exploiting this opportunity

constituted impermissible conduct, much less sanctionable misconduct. Instead of

employing the disciplinary process, the federal court adopted measures to eliminate

this opportunity.

       18.    To give a third notorious example of judge shopping that was never held

to be sanctionable and that, indeed, was judicially facilitated: For many years, class

counsel negotiated settlements before filing a class action and then filed their cases



6
   Chief Justice John G. Roberts, Jr., 2021 Year-End Report on the Federal Judiciary (Dec. 31,
2021), at 5, https://www.supremecourt.gov/publicinfo/year-end/2021year-endreport.pdf.
                                              9
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in jurisdictions where a particular judge, who was likely to approve the proposed

settlements, would be assigned.7

       19.   Finally, to offer an example from my own professional experience: In

the Southern District of New York in the early 1980s, prior to the adoption of the

Federal Sentencing Guidelines, indicted defendants were arraigned in Part I, where

district judges generally sat in two-week shifts that were announced weeks in

advance. If a defendant pled guilty at arraignment, the Part I judge kept the case for

sentencing rather than assigning it randomly to a judge in the district. As part of a

plea bargain, federal prosecutors in the district customarily allowed the defense

lawyer to choose when, over a six-week period, the defendant would be arraigned.

In other words, the defendant, as an inducement to plead guilty, was permitted to

select which of three judges would impose sentence and could select the judge who

was perceived to be the most lenient. Before the procedure changed, no court

proposed sanctioning federal prosecutors and defense lawyers for exploiting the Part

I procedure for the purpose of judge shopping.

       20.   In some of these examples and others, one might reasonably perceive

that some judges not only tolerate judge shopping but welcome it. For example, as

an exception to the random assignment of federal district judges, different federal



7
   Edwin Lamberth, Comment, Injustice by Process: A Look at and Proposals for the Problems
and Abuses of the Settlement Class Actions, 28 Cumb. L. Rev. 149, 159-62 (1997-1998).

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district courts have adopted varying rules for when an action will be assigned to a

particular judge because it is “related” to a case over which that judge is currently

presiding or has previously presided. This procedure may be explained by the

institutional interest in judicial economy, by the interest in avoiding inconsistent

legal decisions, or by other institutional interests. As a result, particularly in

jurisdictions where application of the standard is uncertain or highly discretionary,

lawyers and judges may be selective in whether to characterize a case as “related”

to an earlier one, depending on whether the lawyer wants the earlier judge or the

judge wants the new case. When lawyers or judges adopt a debatable or erroneous

interpretation of “related case,” it does not follow that they have engaged in

impropriety. For example, in Ligon v. City of New York (In re Reassignment of

Cases), 736 F.3d 118, 125-26, 129 (2d Cir. 2013), the court of appeals found that the

district judge unjustifiably accepted an action as a related case after inviting it to be

filed, but there was no suggestion that the lawyers acted improperly by accepting the

judge’s invitation to designate the case as related.

      21.    Just as it may be legitimate to judge shop through legally permissible

processes when a lawyer first files a case, a lawyer may employ legally available

processes to attempt to avoid a randomly assigned judge after a case has been filed.

At times, doing so may be professionally obligatory. The obvious example is non-

frivolous motions for judicial recusal. A judicial recusal motion is generally


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permissible as long as it has a basis in law and fact as required by Fed. R. Civ. P. 11

and Rule 3.1 of the professional conduct rules, even though its very purpose is to

replace the judge assigned to the case. See, e.g., Obert v. Republic W. Ins. Co., 398

F.3d 138, 144 (1st Cir. 2005) (“[W]hile ‘judge shopping’ may be improper in some

contexts, the very purpose of a motion to recuse is to secure a different judge.”).

Indeed, lawyers as officers of the court may sometimes be obligated to call the

court’s attention to potentially disqualifying facts or may sometimes have a

competence duty to the client to move to disqualify a judge with a clearly

impermissible bias. Federal judges may sanction lawyers under Rule 11 for filing

frivolous recusal motions. Id. at 144-45. Additionally, courts have criticized

lawyers, and have put them on notice that they can now be sanctioned, for

manufacturing an infirmity for the purpose of forcing a judge’s recusal, such as by

retaining a lawyer with a close relationship to the assigned judge, see, e.g., In re

Bellsouth Corp., 334 F.3d 941 (11th Cir. 2003); Valley v. Phillips Cnty. Election

Comm’n, 183 S.W.3d 557, 559 (Ark. 2004), or by filing an unmeritorious civil action

against the assigned judge. See Jones v. City of Buffalo, 867 F. Supp. 1155, 1162-63

(W.D.N.Y. 1994). But non-frivolous recusal motions based on established facts,

brought for the purpose of removing the case from the assigned judge, are proper.

Courts can adopt some procedures to reduce lawyers’ ability to succeed in judge

shopping through recusal motions. See, e.g., AVPM Corp. v. Childers, 583 S.W.3d


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216, 218 (Tex. Ct. App. 2018) (observing “that withholding a motion to recuse,

meritorious or otherwise, until a judgment is rendered is indicative of judge

shopping,” and that in such cases another court requires the movant to “affirmatively

explain why he was unable, with reasonable diligence, to inform himself of the

grounds for recusal until after the opinion was released”). Or judges can avoid

disqualifying biases. See Code of Conduct for United States Judges, Canon 4 (“a

judge should not participate in extrajudicial activities that . . . lead to frequent

disqualification”).

      22.    In the Walker case, for the reasons discussed below, the procedural steps

addressed in the Final Report of Inquiry were legally permissible, regardless of the

lawyers’ motivation. Going forward, courts might change the relevant procedural

rules, or otherwise proscribe aspects of the conduct in question if they consider it

undesirable, and thereafter subject lawyers to sanctions for violating the newly

announced requirements. But Walker Counsel engaged in procedurally permissible

conduct without notice that any of it might, for the first time, be sanctionable.

Although the Final Report of Inquiry lists a series of acts (Report at 51-52), some of

those listed, insofar as relevant to Walker Counsel, are not arguable instances of

judge shopping but simply evidence of the lawyers’ intent or desire to have a

favorable judicial assignment.     See, e.g., Report at 51 (characterizing it as

“misconduct” that lawyers “engag[ed] in numerous and wide-ranging discussions


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about how judges were favorable or unfavorable in the context of deciding whether

to dismiss or refile their cases”); but see id. at 50 (“[T]he panel does not condemn

the lawyers for fretting about their chances of success before a particular judge.”).


   C. “Related Case” Allegations.

      23.    Walker Counsel characterized their action as related to Corbitt v. Taylor,

2:18-cv-00091-MHT-GMB (M.D. Ala.), first in the Civil Cover Sheet that

accompanied the Walker Complaint and then in a Motion to Reassign that they later

withdrew before it was decided. Report at 6-7, 17-18. Unlike the Northern and

Southern Districts of Alabama, the Middle District had no Local Rule explaining the

standard for designating a case as “related” on the Civil Cover Sheet. Middle District

Local Rule 3.1(a) states that marking a case as related “is solely for administrative

purposes, and matters appearing in the civil cover sheet have no legal effect in the

action.” The motion to reassign required a good faith basis in law and fact under

Fed. R. Civ. P. 11 and Rule 3.1 of the Alabama Rules. Cf. In re Bellsouth, supra,

334 F.3d at 951 (upholding the district court’s determination that the listing of a

related case “was plausible,” and did not constitute a misrepresentation).

      24.    The panel evidently regarded the related case rule as inapplicable,

whether because Corbitt was on appeal, or because they believed the issues in the

case were insufficiently related to those in Walker. But the panel did not find that

Walker Counsel’s motion to reassign was frivolous or implausible. I assume they did

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not find that the motion was frivolous because, given the absence of a written

standard in the Middle District of Alabama and that both cases related to healthcare

for transgender individuals, there was a plausible basis for characterizing the cases

as related.

      25.     Walker Counsel acknowledged, and the panel concurred, that counsel

“wanted Walker assigned to Judge Thompson” because “they considered [him] a

favorable draw.” Report at 18. But, other than in cases where the relationship

between a pending case and a newly filed case is so obviously related that the

application of the related case rule is undebatable, it is unsurprising that plaintiffs’

lawyers who invoke the rule are motivated to draw a favorable judge. That motive

for invoking the related case rule, where there is a nonfrivolous basis to do so, does

not mean that the application constitutes bad faith conduct or sanctionable

misconduct, even if the application is ultimately denied.


   D. Contacting Judge’s Thompson’s Chambers.

      26.     The panel recounted that Walker Counsel decided to call Judge

Thompson’s chambers, “mistakenly believ[ing] that, by marking Walter related to

Corbitt, Judge Thompson would review the Walker complaint to determine whether

it was indeed related to Corbitt.” Id. Carl Charles then made the call, “inform[ing]

the clerk that Walker had been filed and marked related to Corbitt and that the Walker

team would soon file a motion for preliminary injunction.” Id. Walker Counsel

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believed their information to be accurate, and it appears from the panel’s description

to have been so. However, Walker Counsel misunderstood the process that the case

would initially be assigned to Judge Thompson for a determination whether the cases

were related.

      27.    There is nothing in the Final Report to say that, given the lawyers’

understanding, the call was impermissible under Rule 3.5 of the Alabama Rules,

which restricts ex parte communications with judges, or under any other established

rule or judicial standard. Although Rule 3.5 does not delineate when ex parte

communications with judges are permitted or forbidden, it is well understood that

the rule targets ex parte communications “about the merits of the case,” Gregory C.

Sisk, et al., Legal Ethics, Professional Responsibility, and the Legal Profession 590

(2018), not calls to chambers for administrative or scheduling purposes, to ask about

the judge’s procedure, or, as here, as a courtesy to alert the judge’s chambers that a

filing is on its way. See Report at 19 (“Calling chambers to alert a judge to an

upcoming motion for emergency relief might be innocent and even helpful.”).

      28.    Like Walker Counsel’s application to have Walker assigned to Judge

Thompson as a case related to Corbitt, the call to Judge Thompson’s chambers was

animated by Walker Counsel’s acknowledged desire to have the case assigned to a

favored judge. But, as discussed, taking otherwise permissible procedural measures

toward that end is not bad faith or sanctionable misconduct.


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   E. Dismissal of Walker Under Rule 41.

      29.    Walker Counsel filed the Walker action independently of Ladinsky and

in good faith, albeit in the hope of being assigned a favorable judge whether through

designation of the case as related to Corbitt or through random selection. Later,

dissatisfied with the judicial assignment, among other reasons, Walker Counsel

voluntarily dismissed the case in order to buy time to decide what to do. The panel

made lengthy findings about the voluntary dismissal of the Walker and Ladinsky

actions, many applicable exclusively to the counsel in the Ladinsky action, who

ultimately refiled their lawsuit. With respect to the Walker action, the panel found

that Walker Counsel shared Ladinsky counsel’s concern that the Ladinsky action was

transferred to Judge Burke, Report at 29, and timed the voluntary dismissal with

counsel in Ladinsky.

      30.    Walker Counsel’s dismissal under Fed. R. Civ. P. 41(a)(1)(A)(i) was not

factually or legally frivolous; rather, it was well founded. The statutory grounds for

voluntarily dismissing the action—namely, that the State had not yet filed an answer

or a summary judgment motion—were satisfied. That principal motivations were

displeasure with the assignment of the action to Judge Burke and the desire for time

to consider their procedural options does not make the motion improper or

sanctionable. On the contrary, counsel may voluntarily dismiss an action under this

Rule for any reason, even a bad one such as forum shopping. See Adams v. USAA


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Cas. Ins. Co., 863 F.3d 1069, 1080 (8th Cir. 2017); Wolters Kluwer Fin. Servs., Inc.

v. Scivantage, 564 F.3d 110, 114-15 (2d Cir. 2009).

      31.    A lawyer who judge shops by filing multiple actions in the same forum

on behalf of different plaintiffs with the intention of dismissing all but one deserves

judicial disdain, and possible punishment, for this strategy, which courts have

condemned. See, e.g., Harsman v. Cin. Children’s Hosp. Med. Ctr., 2022 U.S. Dist.

LEXIS 170334, *11 (S.D. Ohio Sept. 20, 2022) (sanctioning lawyers “pursuant to

28 U.S.C. § 1927, based solely on their abuse of the judicial system through their

strategic dismissal and re-filing of claims to thwart potentially unfavorable rulings

by engaging in confessed judge shopping”). But that is not what happened here.

Based on information and belief, including my review of the record, my

understanding is that the filing and dismissal of the Walker action was not part of a

coordinated effort with counsel in the Ladinsky action to file multiple lawsuits with

the intention of maintaining one before a favored judge and dropping the other. The

respective lawyers did not coordinate at the outset, and when they spoke to each

other after the lawsuits were filed to discuss “refiling a single case together,” the

panel found, “[t]he call was fruitless and acrimonious.” Report at 43. Although the

panel found that the respective lawyers “coordinat[ed]” the dismissal of the two

cases, id. at 51, meaning that they decided to dismiss the cases at the same time, the

cases were not initially filed with the expectation that one (or both) would be


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dismissed—indeed there is direct testimony on this issue suggesting that the two

groups were competing to file first. 8 Walker Counsel did not refile their action, and

had no expectation that if they did so, the action would be assigned to a particular

judge (given that Ladinsky had also been dismissed). Walker Counsel dismissed the

action to enable them to decide whether to resume the action, and they ultimately

decided (in consultation with their clients), not to resume the action at all. 9

       32.     That said, courts have recognized that even when lawyers “judge shop”

by filing and dismissing successive actions in different fora until they are assigned a

favorable judge, the conduct is not invariably sanctionable, but may simply

constitute zealous advocacy within the procedural rules.                  Federal courts have

acknowledged this with regard to class action lawsuits that can be filed in any of

multiple districts. For example, in Frank v. Crawley Petroleum Corp., 992 F.3d 987,

1001 (10th Cir. 2021), the court of appeals noted that although “[j]udge shopping”

by class counsel who file in multiple fora in coordinated fashion “may be . . .

particularly pernicious,” it “is a necessary consequence of” the Supreme Court’s


8
    See, e.g. May 8, 2024 James Esseks Suppl. Decl. ¶¶ 14-22; Aug. 3, 2022 Hr’g Tr. at 18
(Hartnett testimony); July 26, 2022 Shannon Minter Decl. ¶ 1; Aug. 4, 2022 Hr’g Tr. at 65 (Eagan
testimony); see also Report at 39 (noting Ladinsky team “won the race to the courthouse”).
9
    Further, this was not a situation where lawyers judge shopped by filing and dismissing multiple
related actions without acknowledging that the cases were related as required by court rules.
Compare Disability Advocs. & & Counseling Grp., Inc. v. Betancourt, 379 F. Supp. 2d 1343 (S.D.
Fla. 2005). Lawyers could justifiably be sanctioned for violating their duty of candor to the courts
in this manner.


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decision in Smith v. Bayer Corp., 564 U.S. 299 (2011). Other federal courts have

made similar observations about class counsel’s strategic use of voluntarily

dismissals to avoid random judicial selections. See id. at 1001-02 (citing authority).


   F. Fair Process and Notice Concerns.

      33.    Walker Counsel did not engage in professional misconduct by judge

shopping in violation of established standards of professional conduct.         They

pursued a legitimate objective by attempting to take advantage of available

procedures in lawful ways. Unlike certain conduct, such as law breaking, there was

nothing inherently unethical in the lawyers attempt to obtain a procedural advantage.

      34.    Courts have inherent authority to establish new standards of conduct

going forward. To the extent the Court regards any of the conduct in the Walker case

to be undesirable, it might exercise its inherent authority to put lawyers on notice

that specified conduct is no longer permissible. Or the Court might adopt new

procedures to close off existing avenues for judge shopping. But it would raise

serious fair process concerns to sanction Walker Counsel for conduct that was

permissible at the time they undertook it. See Nancy J. Moore, Mens Rea Standards

in Lawyer Disciplinary Codes, 23 Geo. J. Legal Ethics 1, 53 (2010) (“Another way

that some courts take into account a reasonable mistake of law is to provide that

clarifying interpretations of unclear disciplinary rules will be applied prospectively



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only. In some circumstances, such an approach might be constitutionally required .

. . .” (citations omitted)).


II.     Walker Counsel Reasonably and Adequately Communicated with Their
        Clients, Consistently with the Expectations and Practices of a
        Responsible Attorney and the Standards of the Legal Community.

        35.    The panel noted that the plaintiffs in Walker were not informed in

advance that their cases were being dismissed, but were told shortly afterwards.

Report at 41-42. This Court then asked whether Walker Counsel should “be

sanctioned for failing to seek or secure their clients’ consent in violation of Federal

Rule of Civil Procedure 11 and the rules of professional conduct.” Order at 10. The

Court’s Order made earlier reference to the requirements of Rule 1.2(a) of the

Alabama Rules that lawyers “abide by a client’s decisions concerning the objectives

of representation” and “consult with the client as to the means by which they are to

be pursued,” and to the requirements of Rule 1.4 of the Alabama Rules that lawyers

keep their clients “reasonably informed about the status of a matter” and explain

matters “to the extent reasonably necessary to permit the client to make informed

decisions regarding the representation.” Order at 6.10




10
    The Order also made earlier reference to two other provisions of the Alabama Rules, Rules 1.3
and 3.3. Order at 6. These do not appear to me to be potentially applicable to Walker Counsel’s
“fail[ure] to seek or secure their clients’ consent.” I assume the Court considered them potentially
applicable to other aspects of the alleged conduct of the Walker lawyers and/or the Ladinsky
lawyers.

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        36.    In response, Walker Counsel has presented further information

regarding their clients’ objective and regarding the lawyer-client communications,

which I have reviewed. 11 In brief, Walker Counsel understood that their clients’

objective was to advance the cause of protecting healthcare for transgender children.

Accordingly, Walker Counsel believed they were authorized by their clients to make

decisions to advance that cause. Walker Counsel understood that their clients agreed

to serve as plaintiffs in a lawsuit challenging the Alabama law (SB 184) as a means

of achieving that objective. In addition to communicating with the clients before

filing the lawsuit, from April 11, when Walker was filed, until April 15, when it was

voluntarily dismissed, Walker Counsel communicated with their clients by phone

and email regarding the procedural developments. And although Walker Counsel

spoke with their clients shortly after filing the notice of voluntary dismissal on the

evening of April 15, they did not consult their clients immediately before filing the

notice of dismissal. Walker Counsel believed that it was necessary to move quickly,

before the opportunity to move under Rule 41(a)(1)(A)(i) was foreclosed by the

State’s filing of an Answer. They understood that dismissing the action would not

bar them from refiling but would afford an opportunity to consider procedural

options, including possibly filing a new lawsuit. Later in the evening on April 15

and over the weekend, Walker Counsel consulted with their clients regarding the


11
     See Carl Charles Suppl. Decl. (May 7, 2024), ¶¶ 116-127.

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dismissal that had been filed and the path forward, and chose to dismiss without

refiling, believing that others would challenge the Alabama law in court.

      37.    Under the Alabama Rules, Walker Counsel had authority to dismiss the

action without the clients’ prior authorization, because the decision was one of

strategy or “means,” and was undertaken for the purpose of furthering the clients’

overall objective, which was not to bring a lawsuit per se but to protect transgender

children’s healthcare. Rule 1.2(a) of the Alabama Rules provides in pertinent part:

“A lawyer shall abide by a client’s decisions concerning the objectives of

representation, . . . and shall consult with the client as to the means by which they

are to be pursued.” After working with their clients for approximately two years,

Walker Counsel was aware of their clients’ objectives and made strategic decisions

to advance those objectives.

      38.    Even in an ordinary case where a plaintiff retains a lawyer specifically

to pursue litigation as a means of recovering damages or achieving another remedy,

the lawyer may make a strategic decision to move to dismiss a lawsuit as a means of

achieving the plaintiff’s ultimate objective. The Restatement (Third) of the Law

Governing Lawyers confirms this. Titled “Allocating the Authority to Decide

Between a Client and a Lawyer,” Section 21 provides in pertinent part:

      As between client and lawyer: . . . a lawyer may take any lawful measure
      within the scope of representation that is reasonably calculated to advance a
      client’s objectives as defined by the client, consulting with the client as
      required by § 20.
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The accompanying Comment explains in part:

      A lawyer has authority to take any lawful measure within the scope of
      representation . . . that is reasonably calculated to advance a client’s
      objectives as defined by the client . . . unless there is a contrary agreement or
      instruction and unless a decision is reserved to the client . . .. A lawyer, for
      example, may decide whether to move to dismiss a complaint and what
      discovery to pursue or resist.

Restatement (Third) of the Law Governing Lawyers, § 21, cmt. e (emphasis added).

      39.    That the motion was a “means” by which the lawyers pursued the

clients’ objective is especially clear inasmuch as the lawsuit could have been refiled.

The motion did not impede, much less thwart, the plaintiffs’ opportunity to pursue

their objective through litigation, although it may have delayed the injunctive relief

initially sought. At a time when a quick strategic decision was perceived to be

necessary, the motion was an exercise of the lawyers’ best professional judgment

about how to achieve the clients’ objective and a decision well within the confines

of a responsible attorney’s options to advance their clients’ interest in a time-pressed

situation.

      40.    Further, for the reasons discussed below, Walker Counsel adequately

communicated with their clients, consistent with the standards of the legal

community, illustrated by the professional conduct rules for lawyers practicing in




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Alabama, which are largely based on the American Bar Association’s Model Rules

of Professional Conduct.12

        41.    Because the decision whether to move for voluntary dismissal was a

decision that the lawyers were permitted to make, not one reserved to their clients,

Rule 1.4(b) was not applicable. Rule 1.4(b) provides: “A lawyer shall explain a

matter to the extent reasonably necessary to permit the client to make informed

decisions regarding the representation.” This provision calls on lawyers to give

advice about an offer of settlement or, in a criminal case, a plea bargain, before the

client decides whether to accept it. But because Walker clients did not have to make

an “informed decision[]” whether to file the voluntary dismissal motion – that was

the lawyers’ decision—Rule 1.4(b) did not require an explanation “to permit the

client to make [an] informed decision[].” Order at 6.

        42.    Further, Walker Counsel satisfied Rule 1.4(a), which provides: “A

lawyer shall keep a client reasonably informed about the status of a matter and

promptly comply with reasonable requests for information.” The accompanying

Comment explains in part:

        Adequacy of communication depends in part on the kind of advice or
        assistance involved. For example, in negotiations where there is time to
        explain a proposal, the lawyer should review all important provisions with the
        client before proceeding to an agreement. In litigation a lawyer should explain

12
   Although the Court’s Order referred to Federal Rules of Civil Procedure Rule 11, I do not
address it here because I do not perceive how it might be applicable to the adequacy of the lawyers’
communications.

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      the general strategy and prospects of success and ordinarily should consult the
      client on tactics that might injure or coerce others. On the other hand, a lawyer
      ordinarily cannot be expected to describe trial or negotiation strategy in detail.
      The guiding principle under this Rule is that the lawyer should fulfill the
      reasonable expectation of the client for information. In determining what is
      reasonable, the lawyer must consider that the lawyer has a duty to act in the
      client’s best interests. However, each client will have different levels of
      willingness, ability, and desire to participate intelligently in the representation.
      These levels are often dependent upon the kind of representation. Thus, the
      guiding principle is contingent upon the client’s reasonable expectation but is
      limited or expanded by the client's willingness, ability and desire to participate
      in the particular representation, and by the practicability of the lawyer’s
      meeting the client’s expectations.

Alabama Rules, Rule 1.4, cmt. (emphasis added). See also Ellen J. Bennett et al.,

ABA Annotated Model Rules of Professional Conduct 76 (10th ed. 2023) (“ABA

Model Rule 1.4(a)(2) . . . adds the word ‘reasonably,’ to preclude an interpretation

that the lawyer would always be required to consult, even when a particular act is

impliedly authorized.”).

      43.    The relevant provision of the Restatement (Third) of the Law

Governing Lawyers is to like effect. Titled “A Lawyer’s Duty to Inform and Consult

with a Client,” Section 20 provides in pertinent part: “A lawyer must keep a client

reasonably informed about the matter and must consult with a client to a reasonable

extent concerning decisions to be made by the lawyer.” Restatement (Third) of the

Law Governing Lawyers, § 20(1) (emphasis added). An accompanying Comment

explains in part: “To the extent that the parties have not otherwise agreed, a standard

of reasonableness under all the circumstances determines the appropriate measure


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of consultation. Reasonableness depends upon such factors as the importance of the

information or decision, the extent to which disclosure or consultation has already

occurred, the client’s sophistication and interest, and the time and money that

reporting or consulting will consume. So far as consultation about specific decisions

is concerned, the lawyer should also consider . . . the time available.” Id., § 20(1),

cmt. c (emphasis added). See also Gregory C. Sisk et al., supra, at 221 (“What is

‘reasonable’ turns of course on circumstances (including time-constraints and

setting) and significance (the likely importance of the matter to the client).”

(emphasis added)).

      44.    As these provisions make clear, lawyers are not required to consult with

clients in advance regarding each and every specific decision entrusted to a lawyer,

but must engage in reasonable communications, guided by clients’ expectations.

Here, Walker Counsel sought to fulfill their clients’ objectives, and overall, their

regular communications with their clients were reasonable and within the confines

of a responsible attorney’s practice under the circumstances. Further, the voluntary

dismissal, which was discussed almost immediately after it was filed, was not

mandated as a discussion with clients that needed to occur in advance of this strategy

decision. The above-quoted authorities suggest just the contrary insofar as they

permit lawyers to take account of time constraints. Here, the lawyers perceived that

the voluntary dismissal had to be filed quickly, or the opportunity might be lost.


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Given their knowledge of the clients’ objectives, it was consistent with the

responsible practice of law for them to make the decision, rather than delaying in

order to confer with the clients.



      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
foregoing statements are true and correct to the best of my knowledge, information,
and belief.


Dated: May 8, 2024
New York, New York


                                                   /s/ Bruce A. Green
                                                   Bruce A. Green




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                                        Appendix A
                                     BRUCE A. GREEN
                                      Louis Stein Chair
                             Fordham University School of Law
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                            (212) 636-6851; (212) 636-6899 (FAX)
                                  bgreen@law.fordham.edu


                                       Bar Admissions

New York State (since 1982)
U.S. District Courts for the Southern and Eastern Districts of New York
U.S. Supreme Court

                                          Education

Columbia University School of Law: J.D. 1981
     Honors: James Kent Scholar; Harlan Fiske Stone Scholar
     Associate Editor, Columbia Law Review

Princeton University: A.B. 1978, summa cum laude

                                 Current Legal Employment

Fordham University School of Law:
      Louis Stein Chair of Law, since 1997
      Professor, 1996-97; Associate Professor, 1987-96
      Director, Louis Stein Center for Law and Ethics, since 1997
      Director, Stein Center for Ethics and Public Interest Law, 1992-97

                             Prior Full-time Legal Employment

New York University School of Law: Visiting Professor: January-May 2007

Office of the United States Attorney for the Southern District of New York:
       October 1983 to August 1987, Assistant United States Attorney
       Deputy Chief Appellate Attorney, 1986-87; Chief Appellate Attorney, 1987

U.S. Supreme Court: Law clerk to Justice Thurgood Marshall, 1982-83

U.S. Court of Appeals for the Second Circuit: Law clerk to Judge James L. Oakes, 1981-82




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                                     Other Legal Positions

Departmental Disciplinary Committee, App. Div., 1st Department: Member, 1997-2002

New York City Conflicts of Interest Board: Member, Nov. 1995 to March 2005

Handschu Authority: Civilian member, July 1994 to Nov. 1995

Office of Investigations Officer (U.S. v. I.B.T.): Special Counsel (part-time), 1991

Office of Independent Counsel Lawrence Walsh, Associate Counsel (part-time), 1988-91

N.Y.S. Commission on Government Integrity: Consultant and special investigator, 1988-90

Columbia University School of Law: Adjunct Professor (part-time), 1990

Office of the United States Attorney for the Southern District of New York: Special
Assistant United States Attorney (part-time), September 1987 to June 1988

Fordham University School of Law: Adjunct Assoc. Professor (part-time), 1985-87

                                        Compensation

Expert Compensation: My ordinary hourly rate for expert services is $1400/hr. I am providing
services in this matter at a discounted rate of $1100/hr.




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                                       Appendix A

                                    Professional Service

American Bar Association:
        Commission on the American Jury Project: member, 2006-2008
        Commission on Multijurisdictional Practice: reporter, 2000-2002
        Coordinating Group on Bioethics and the Law: member, 1997-2003
        Criminal Justice Section:
               Chair: 2010-2011
               Chair-elect: 2009-2010
               Council: member, 2011-2017
               Criminal Justice Standards Committee: chair, 2017-2021; member, 2013-2017
               Criminal Justice Standards Task Force on Victims, member, 2020-present
               First Vice Chair: 2008-2009
               Ethics, Gideon and Professionalism Committee: co-chair, 2006-09
        Death Penalty Representation Project: member, 2006-09, 2014-17
        Section of Individual Rights and Responsibilities:
               Chair, Committee on Privacy and Information Protection, 2014-15
        Section of Litigation:
               Task Force on Sound Advice, 2012-13
               Task Force on Implicit Bias: member, 2011-12
               Task Force on the Litigation Research Fund: Chair, 2007-2011
               Division VII (Task Forces): Co-Director, 2007-2008
               Council member, 2004-07
               Committee on Law Faculty Involvement: co-chair, 1998-2001, 2003-2004
               Civil Justice Institute: member, 2001-03
               Task Force on Ethical Guidelines for Settlement Negotiations: member, 2000-02
               Ethics 2000 Task Force: member, 1999-2000
               Committee on Ethics and Professionalism: co-chair, 1995-1998
               Task Force on the Independent Counsel Act: reporter, 1997-1999
               Rep. to Sec./Div. Committee on Professionalism and Ethics, 1996-2003
               Committee on Amicus Curiae Briefs: chair, 1991-1995
        Standing Committee on Ethics and Professional Responsibility: chair, August 2023 to
date; member, 2008-2011; liaison from the Criminal Justice Section, 2020-2023
        Standing Committee on Professionalism: reporter, 2000-2001
        Steering Committee for the Symposium on the Multijurisdictional Practice of Law:
reporter, 1999-2000
        Task Force on the Attorney-Client Privilege: reporter, 2004-2010
        Task Force on Law Schools and the Profession: consultant, 1991-92




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Association of American Law Schools: Chair, Section of Professional Responsibility, 1999-
2000

Criminal Law Bulletin: Contributing editor, 1988-1998

Evan B. Donaldson Adoption Institute: Ethics Advisory Committee: member, 1998-2001

Federal Bar Council:
      Board of Trustees, member, 2018 to present
      Second Circuit Courts Committee: member, 1994-1997; chair, Subcommittee on
Criminal Law and Ethics
      Federal Bar Council News: member of the Editorial Board, 1995-2005
      Inn of Court: master, 2000-2002

International Association of Legal Ethics: Treasurer, 2019-2022; Chair, Conference Planning
Advisory Committee, 2014-16; Director, 2010-13

Legal Ethics: Member of Advisory Board, 2008 to present

National Conference of Bar Examiners, MPRE Drafting Committee, Chair, 2018 to present;
Member, 2001-2018

New York City Bar:
      Committee on Professional and Judicial Ethics: chair, 2016-2020; member, 1994-1997,
2003-2006, 2015-16
      Litigation Funding Working Group: member, 2018-2020
      Executive Committee: member, 2010-14
      Working Group on the NYS Bar Exam: member, 2014
      White Collar Crime Committee: member, 2013-16
      Council on Criminal Justice: member, 2009-13
      Delegate to NYS Bar Association, 2003-07
      Nominating Committee: member, 2005
      Ethics 2000 Committee: member, 1999-2001
      Jt. Committee on the Legal Referral Service: chair, 1993-96; member, 1996-2000
      Committee on International Access to Justice: member,1999-2000
      Committee on Disaster Plan: member, 1996-1997
      Marden Lecture Committee: member, 1991-1994
      Criminal Law Committee: member, 1991-1994
      Task Force on Lawyer Training: member, 1992-1994
      Corrections Committee: member, 1988-1991




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New York County Lawyers’ Association:
     Director, 2004-2007, 2008-2012, 2013-2017
     Delegate to NYS Bar Association, 2009-2011
     Member, Committee on Professional Ethics, 2014 to present

New York State Bar Association:
     Committee on Professional Ethics: Chair, 1998-2001; member, 1991 to present
     Committee on Standards of Attorney Conduct: member, 1997 to present
     House of Delegates member, 2003-2007, 2009-2015
     Task Force on Attorney Client Privilege, 2006-2008
     Task Force on “Pay to Play” Concerns, member, 1998-2000

New York State Continuing Legal Education Board: Member, 2008-2011

New York State Task Force on Attorney Professionalism and Conduct: Member, 1996-1998


                                           Awards

Michael Franck Professional Responsibility Award, given by the ABA Center for Professional
Responsibility, May 31, 2018

Powell Pierpont Award, given by the N.Y.C. Conflicts of Interest Board “for outstanding service
to the New York City Conflicts of Interest Board,” May 23, 2006

New York State Bar Association Criminal Justice Section Award for “outstanding contribution
in the field of criminal law education,” Jan. 23, 2003

Sanford D. Levy Award, given by New York State Bar Association Committee on Professional
and Judicial Ethics, 1990




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                                        Appendix A

                                      PUBLICATIONS

                                  Articles in Law Journals

Public Confidence, Judges, and Politics On and Off the Bench, forthcoming in Law &
Contemporary Problems (2024), SSRN-id4745943.pdf (with Rebecca Roiphe)

Good Lawyers, Good Sports?: The Professional Identity of Sports Lawyers Representing Not-
for-Profit Entities, forthcoming in Texas A&M L. Rev. (2024), SSRN-id4751700.pdf

Should State Trial Courts Become Laboratories of UPL Reform?, 92 Fordham L. Rev. 1285
(2024)

Foreword: The Legal Profession and Social Change, 92 Fordham L. Rev. 1239 (2024) (with
Atinuke O. Adediran)

Depoliticizing Federal Prosecution, 100 Denver L. Rev. 817 (2023) (with Rebecca Roiphe)

Should Prosecutors Be Expected to Rectify Wrongful Convictions?, 10 Tex. A&M L. Rev. 167
(2023)

Civil Justice at the Crossroads: Should Courts Authorize Nonlawyers to Practice Law?, 75
Stanford L. Rev. Online 104 (June 2023), https://www.stanfordlawreview.org/online/civil-
justice-at-the-crossroads/

A Fiduciary Theory of Progressive Prosecution, 60 Am. Crim. L. Rev. 1431 (2023) (with
Rebecca Roiphe)

De-Weaponizing the Federal Government, Voting Rights & Democracy Forum, Feb. 28, 2023
(with Rebecca Roiphe), https://fordhamdemocracyproject.com/2023/02/28/de-weaponizing-the-
federal-government/

Why State Courts Should Authorize Non-Lawyers to Practice Law, Fordham Law Review, 91
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For Deborah L. Rhode, Legal Ethics Scholar, 91 Fordham L. Rev. 1105 (2023)

Can the Fourth Amendment Keep People “Secure in their Persons?”, 102 B.U. L. Rev. Online 92
(2022)

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Impeaching Legal Ethics, 49 Fla. St. Univ. L. Rev. 447 (2022) (with Rebecca Roiphe)

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543 (2022) (with Rebecca Roiphe)

Should Victims’ Views Influence Prosecutors’ Decisions?, 87 Brooklyn L. Rev. 1127 (2022)
(with Brandon P. Ruben)

Foreword: Subversive Lawyering, 90 Fordham L. Rev. 1945 (2022) (with Bennett Capers)

Selectively Disciplining Advocates, 54 Conn. L. Rev. 151 (2022)

Who Should Police Politicization of the DOJ?, 35 Notre Dame J. L. Ethics & Pub. Pol’y 671
(2021) (with Rebecca Roiphe)

Mental Health and the Legal Profession: Foreword and Dedication, 89 Fordham L. Rev. 2415
(2021) (with Deborah Denno)

Technocapital@Biglaw.com, 18 Nw. J. Tech. & Intell. Prop. 265 (2021) (with Carole Silver)

The Judicial Role in Professional Regulation: Foreword, 89 Fordham L. Rev. 1099 (2021)

When Prosecutors Politick: Progressive Law Enforcers Then and Now, 110 J. Crim. L. &
Criminology 719 (2020) (with Rebecca Roiphe)

May Class Counsel Also Represent Lead Plaintiffs?, 72 Florida L. Rev. 1083 (2020) (with
Andrew Kent)

Victims’ Rights from a Restorative Perspective, 17 Ohio St. J. Crim. L. 293 (2020) (with Lara
Bazelon)

Restorative Justice from Prosecutors’ Perspective, 88 Fordham L. Rev. 2287 (2020) (with Lara
Bazelon)

Should Criminal Justice Reformers Care About Prosecutorial Ethics Rules?, 58 Duq. L. Rev. 249
(2020) (with Ellen Yaroshefsky)

A Fiduciary Theory of Prosecution, 69 Am. U. L. Rev. 805 (2020) (with Rebecca Roiphe)

The Supreme Court’s Supervisory Authority over Federal Criminal Cases: The Warren Court
Revolution That Might Have Been, 49 Stetson L. Rev. 241 (2020)




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Punishment Without Process: “Victim Impact” Proceedings for Dead Defendants, Fordham Law
Review Online, vol. 88 (2019) (with Rebecca Roiphe), http://fordhamlawreview.org/wp-
content/uploads/2019/11/Green-Roiphe_November_FLRO_4.pdf

Regulating Prosecutors’ Courtroom Misconduct, 50 Loy. U. Chi. L.J. 797 (2019)

Foreword: In Honor of Prof. Bennett L. Gershman, 16 Ohio St. J. Crim L. 291 (2019) (with Peter
Joy & Ellen Yaroshefsky)

Prosecutorial Discretion: The Difficulty and Necessity of Public Inquiry, 123 Dickinson L. Rev.
589 (2019)

Prosecutors in the Court of Public Opinion, 57 Duquesne L. Rev. 271 (2019)

Judicial Activism in Trial Courts, 74 N.Y.U Ann. Survey of Am. Law 365 (2019) (with Rebecca
Roiphe)

May Federal Prosecutors Take Direction from the President?, 87 Fordham L. Rev. 1817 (2019)
(with Rebecca Roiphe)

Lawyers in Government Service – A Foreword, 87 Fordham L. Rev. 1791 (2019)

Can the President Control the Department of Justice?, 70 Ala. L. Rev. 1 (2018) (with Rebecca
Roiphe)

Case Study 2: Advising Grassroots Organizations, 47 Hofstra L. Rev. 33 (2018) (with Marci
Seville)

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L. Rev. F. 114 (2018) (with Rebecca Roiphe), http://www.floridalawreview.com/wp-
content/uploads/GreenRoiphe_published.pdf

May Lawyers Assist Clients in Some Unlawful Conduct?: A Response to Paul Tremblay, 70 Fla.
L. Rev. F. 1 (2018), http://www.floridalawreview.com/wp-content/uploads/Green_Published.pdf

Foreword, Symposium, Can a Good Person Be a Good Prosecutor in 2018?, Fordham Law
Review Online, vol. 87 (2018), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3257914

The price of judicial economy in the US, International Journal of the Legal Profession (2018),
https://doi.org/10.1080/09695958.2018.1516841

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Prosecutorial Ethics in Retrospect, 30 Geo. J. Legal Ethics 461 (2017)

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https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3035295

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Disciplinary Regulation of Prosecutors as a Remedy for Abuses of Prosecutorial Discretion: A
Descriptive and Normative Analysis, 14 Ohio St. J. Crim. L. 143 (2016) (with Samuel Levine)

Should There Be a Specialized Ethics Code for Death-Penalty Defense Lawyers?, 29 Geo. J.
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28, 2017, https://bol.bna.com/trump-loves-fake-judges-cant-stand-real-judges-perspective/

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Law, March 13, 2017, https://bol.bna.com/bharara-firing-shows-trumps-ethics-problem-says-
law-professor-perspective/

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trump-about-ethics-1.12991254




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        Participation in Professional and Academic Programs (since January 2010)

Moderator, “The Role of the Legal Profession in a Time of Crisis – Part 2: Democracy and
Insurrection,” online program co-sponsored by Hofstra Law’s Freedman Institute and Fordham
Law’s Stein Center for Law and Ethics, Apr. 11, 2024

Panelist, “This Just In! Annual Highlights from the ABA Center for Professional
Responsibility,” ABACLE webinar, Mar. 18, 2024

Panelist, “Cutting Edge Ethics Issues When Dealing With New Technologies,” NYSBA Dispute
Resolution Section, Mar. 5, 2024

Panelist, “Criticizing and Baiting Judges: The Limits of Aggressive Advocacy,” The Eastern
District Association, Brooklyn, NY, Feb. 16, 2024

Moderator, Panel on “the Movement Toward Democratizing the Law, Symposium, “With People
Struggling and the Law Failing, What are the Solutions to the Access to Justice Crisis in
America?”, Fordham Law School, Feb. 9, 2024

Panelist, “Ethics for Mediators and Counsel,” 18th Annual Conference on International
Arbitration and Mediation, Fordham Law School, Nov. 17, 2023

Panelist, “Hot Topics in Ethics,” Federal Bar Council Fall Bench and Bar Retreat, Westbrook,
Connecticut, Nov. 5, 2023

Panelist, “Ethical Considerations for Corporate Investigations,” New York City Bar, Oct. 4, 2023

Panelist, “More than Sports: What Comes After NIL,” Texas A&M Schol of Law, Sept. 29, 2023

Presenter, “Prosecutorial Independence,” Research Committee on Sociology of Law Annual
Conference, Lund University, Sept. 1, 2023

Speaker and moderator, conference on “Oversight of prosecutorial decision making and
conduct,” Georgia State University School of Law, Aug. 18, 2023

Panelist, “Lawyers Behaving Badly: Sanctions, Suspensions and General Shenanigans,” New
York Women’s Bar Ass’n, April 25, 2023

Panelist, “Ethical Challenges for Government Lawyers,” Denver Law Review Symposium on
The Watergate State, Denver Law School, Apr. 14, 2023

Moderator and discussant, “The Future of Prosecution,” Fordham Law School, March 3, 2023



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Speaker, “Should Courts Authorize Nonlawyers to Practice Law?,” Access to Justice: 2023
Stanford Law Review Symposium, Stanford Law School, Feb. 10, 2023

Moderator, “Outside Counsel Guidelines: Fair or Foul?,” Association of Professional
Responsibility Lawyers 2023 Midyear Meeting, New Orleans, LA, Feb. 3, 2023

Panelist, “Ethics in Criminal Advocacy,” Federal Bar Council, Jan. 27, 2023

Panelist, “Witness Ethics: Avoiding the Minefields,” ABA Section of Litigation, Dec. 14, 2022

Panelist, “How new technologies are transforming the provision of legal services: analysis and
strategy,” Third Symposium on Technology, Legal Services, and Legal Education, Fordham Law
School, Dec. 9, 2022

Panelist, “The Latest Changes to New York’s Law of Lawyering,” NYS Bar Ass’n, Dec. 7, 2022

Panelist, “Ethics for Corporate Counsel 2022,” NYS Bar Ass’n Corporate Counsel Section, Nov.
3, 2022

Panelist, Symposium on Reform-Minded Prosecution, Georgetown Law School, Oct. 31, 2022

Panelist, Short Circuit Live in NYC, Institute for Justice, NY, NY, Oct. 30, 2022

Speaker, “Why State Courts Should Authorize Non-lawyers to Practice Law,” Stein Center
colloquium, Fordham Law School, Oct. 21, 2022

Speaker, “Should Prosecutors Be Expected to Rectify Wrongful Convictions?”, Texas A&M
Law School, Sept. 30, 2022

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” NY City
Bar, Sept. 14, 2022

Panelist, “Conflicts of Interest: Evaluating the Current Framework,” International Legal Ethics
Conference IX, UCLA, Aug. 15, 2022

Panelist and Chair, “Prosecution amid Political Contestation and Polarization,” International
Legal Ethics Conference IX, UCLA, Aug. 13, 2022

Speaker, “Cutting Edge Ethical Dilemmas in Criminal Defense,” NY County Defender Services,
July 12, 2022

Co-presenter, “A Progressive Theory of Progressive Prosecution,” Criminal Justice Ethics
Schmooze, NY Law School, June 10, 2022



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Presenter, “Why State Courts Should Authorize Non-lawyers to Practice Law,” A2J Roundtable,
Fordham Law School, May 20, 2022

“Should You Have to Be a Lawyer to Do That?,” Howard Lichtenstein Distinguished
Professorship in Legal Ethics Lecture, Hofstra Law School, April 21, 2022

Moderator, panel on “Lawyering in Private: Privilege and Confidentiality – Sacred Protection or
Overused Cloak of Secrecy?,” Symposium on Lawyering for the President: Testing the Limits of
Ethics and Professionalism, University of Georgia School of Law (virtual), Feb. 25, 2022

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 23, 2021

Moderator, “Lawyering in the DC Spotlight,” ABA National Conference on Professional
Responsibility, June 4, 2021

Co-moderator, “Ethical Issues in Crisis Lawyering,” Fordham Law School, March 16, 2021

Presenter, symposium on “The Ethics of Government Service,” Notre Dame Law School, Feb.
13, 2021

Panelist, “From Rudy Giuliani to Josh Hawley: What is the Role of Lawyer Discipline?,” Hofstra
Law School, Jan. 27, 2020

Panelist, Report by the Working Group on Litigation Funding, N.Y. City Bar, Jan. 26, 2020

Co-speaker, “Ethical Obligations in Misdemeanor Courts,” ABA Public Defense Summit, Jan.
22, 2020

Co-interviewee, “Prosecutorial Discretion: Police Killings and Sexual Abuse,” Talks on Law,
recorded Dec. 8, 2020, available at:: https://www.talksonlaw.com/talks/prosecutorial-discretion-
police-killings-and-sexual-abuse

Panelist, “The Next 50: Looking to the Future of Criminal Justice Ethics,” Hofstra Law School,
Nov. 16, 2020

Moderator, “The Problem of Lawyers’ Mental Health in the Decade of the 2020s,” symposium
on Mental Health and the Legal Profession, Fordham Law School, Nov. 6, 2020

Panelist, “Lawyer Discipline and Executive Branch Lawyers,” Cardozo Law School, Oct. 29,
2020



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Panelist, “Ethical Considerations for Corporate Investigations in the World of Covid-19,” N.Y.
City Bar, Sept. 17, 2020

Co-speaker, “CJS History: The History of the CJS Standards Project,” The JustPod, Aug. 20,
2020, https://www.buzzsprout.com/252350/4970960-cjs-history-the-history-of-the-cjs-standards-
project

Commenter, “Discussion Group: State Your Case: The Influence of State Court Decisions, Tribal
Courts, and State and Local Level Reforms on Criminal Practice,” Southeastern Association of
Law Schools 2020 Annual Conference, Aug. 3, 2020

Speaker, “Discussion Group: Prosecution: Implications of the Progressive Prosecution
Movement,” Southeastern Association of Law Schools 2020 Annual Conference, Aug. 2, 2020

Faculty, “Are Outside Counsel Guidelines a Threat to the Practice?,” ABA webinar, April 20,
2020

Co-speaker, “Ethical Issues in the Practice of the Attorney General’s Office,” Office of the NYS
Attorney General, Feb. 13, 2020

Panelist, “Ethical Considerations for Corporate Lawyers in 2020,” Cardozo Law School, Feb. 5,
2020

Panelist, “Achieving Access to Justice Through ADR: Fact or Fiction?,” Fordham Law School,
Nov. 1, 2019

Panelist, discussion of Lonnie T. Brown, Jr., Defending the Public’s Enemy: The Life and
Legacy of Ramsay Clark, University of Georgia School of Law, Oct. 3, 2019

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 18, 2019

Moderator, “Risky Business: The Mueller Minefield and Ethical Dilemmas for Lawyers
Involved in Government Investigations,” ABA 2019 Annual Meeting, San Francisco, California,
Aug. 9, 2019

Panelist, “‘Less fast, Less Furious’?: Protecting Clients & the Public in an Era of Regulatory
Reform,” Association of Professional Responsibility Lawyers 2019 Annual Meeting, San
Francisco, California, Aug. 9, 2019

Moderator, “Discussion Group: A 2020 Vision of Criminal Prosecution and Defense,”
Southeastern Association of Law Schools 2019 Annual Conference, Boca Raton, Florida, July
30, 2019



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Speaker, “Discussion Group: Vulnerable People, Fragile Rights, Criminal Justice,” Southeastern
Association of Law Schools 2019 Annual Conference, Boca Raton, Florida, July 28, 2019

Presenter, Legal Ethics and Fiduciaries Workshop, Kylemore Abbey Global Center, University
of Notre Dame, Connemara, County Galway, Ireland, June 20-21, 2019

Moderator, “Hard Legal Ethics Questions – How to Resolve Them or, Even Better, Avoid
Them,” NY City Bar, May 16, 2019

Panelist, “Litigators and Witnesses: Ethical Considerations and Limitations,” NELA/NY Spring
Conference, NY, NY, May 10, 2019

Panelist, “Conversations on the Warren Court’s Impact on Criminal Justice – After 50 Years,”
Stetson University College of Law, April 5, 2019

Co-panelist, “Legal Ethics and Professional Responsibility,” Legal Issues in Museum
Administration 2019, ALI-CLE, Washington, DC

Speaker, “Prosecutorial Discretion: The Difficulty and Necessity of Public Inquiry,” Symposium
on Discretion and Misconduct: Examining the Roles, Functions, and Duties of the Modern
Prosecutor, Penn State - Dickinson Law School, March 15, 2019

Panelist, “Avoiding Ethical Pitfalls in a Complicated Business Environment,” Cardozo Law
School, Feb. 27, 2019

Panelist, “Special Counsel Investigations and Legal Ethics,” Duquesne University School of
Law, Feb. 8, 2019

Speaker, “Current Developments in internal investigations in US Criminal Law and Procedure,”
Internal Investigations – Comparative Workshop on US, UK and German Law, House of
Finance, Goethe University, Frankfurt, Germany, Jan. 31, 2019

Panelist, “The Ethical Obligations of a Lawyer to Learn the True Facts,” NYS Bar Ass’n Annual
Meeting, Jan. 15, 2019

Panelist, “Refresher Ethics: Steering Clear of Witness Minefields,” ABA Webinar, Dec. 18,
2018

Panelist, “The Ethics of Copyright Trolling (And More): A Game Show,” the Copyright Society
of America, NY, NY, Dec. 13, 2018




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Panelist, “Ethics for Corporate Counsel,” NYSBA Corporate Counsel Section, NY, NY, Nov.
30, 2018

Co-presenter, “May Federal Prosecutors Take Direction from the President?,” Faculty workshop,
Rutgers Law School (Newark), Nov. 29, 2018

Moderator, “Lies, Damned Lies and ‘Alternative Facts,’” ABA Center for Professional
Responsibility, Webinar, Oct. 11, 2018

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Oct. 4, 2018

Panelist, “Polish Your Ethics: Legal Sand Traps Trial Lawyers Should Avoid,” 2018 Annual
Meeting, American College of Trial Lawyers, New Orleans, Louisiana, Sept. 27, 2018

Discussant, “Discussion Group: The Ethics of Legal Education,” 2018 Annual Conference,
Southeastern Association of Law Schools, Ft. Lauderdale, Florida, August 9, 2018

Moderator, “Discussion Group: Judging – 50 Years After the Chicago Seven Trial,” al Defense,”
2018 Annual Conference, Southeastern Association of Law Schools, Ft. Lauderdale, Florida,
August 7, 2018

Discussant, “Discussion Group: Conversations on the Warren Court’s Impact on Criminal
Justice,” 2018 Annual Conference, Southeastern Association of Law Schools, Ft. Lauderdale,
Florida, August 6, 2018

Panelist, “Litigators’ Ethics CLE,” 2018 Second Circuit Judicial Conference, Saratoga Springs,
NY, June 14, 2018

Presenter, “More than a Stern Rebuke: A ‘Broken Windows’ Strategy for Judges Policing
Prosecutors,” Criminal Justice Ethics Schmooze, Brooklyn Law School, June 11, 2018

Panelist, “Ethics of Working with Witnesses, ABA Webinar, recorded June 6 2018, to be aired
Aug. 15, 2018

Moderator, “Lies, Damned Lies and ‘Alternative Facts,’” 44th ABA National Conference on
Professional Responsibility, Louisville, Kentucky, May 31, 2018

Panelist, “Social Media: Legal, Ethical and Practical Considerations for Lawyers,” Federal Bar
Council, Bridgeport, Connecticut, May 21, 2018

Moderator, “An Ounce of Prevention: How to Reduce Liability, Disciplinary and Reputational
Risks, N.Y. City Bar, May 16, 2018



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Panelist, “Ethics: Financing Mass Torts,” 2018 Drug & Medical Device Seminar, Defense
Research Institute, NY, NY, May 11, 2018

Presenter, “Professional Discipline of US Advocates,” Workshop on “Regulating Lawyers
Through Disciplinary Systems,” International Institute for the Sociology of Law, Oñati, Spain,
April 26, 2018

Panelist, “Sentencing Reform from the Bench: The Emerging Role of District Court Judges,”
NYU Annual Survey of American Law, NYU School of Law, March 26, 2018

Panelist, “Ethical Pitfalls and Pratfalls in Corporate Representations: Conflicts, Waivers, and
Common Interest and Joint Defense Agreements,” Cardozo Law School, March 7, 2018

Panelist, “Prying Eyes: Think Confidential and Privileged Client Information is Safe at the
Border: Think Again,” 32nd Annual National Institute on White Collar Crime, ABA, San Diego,
CA, March 2, 2018

Moderator, “Creating Groundbreaking Research on Neuroscience and Law,” conference on The
Future of Neuroscience and Law, Fordham Law School, Feb. 21, 2018

Panelist, Litigation Ethics and New Technology, Federal Bar Council 2018 Winter Bench & Bar
Conference, Nevis, Feb. 16, 2018

Speaker, “Love in the Time of Cholera or Ethics in the Time of Trump?,” McInerney Inn of
Court, U.S. Courthouse, SDNY, NY NY, Feb. 7, 2018

Panelist, “Whistleblowers, Reporting Up, and the Professional Rules of Ethics, NYS Bar Ass’n
Annual Meeting, NY, NY, Jan. 24, 2018

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 14, 2017

Organizer and commentator, “Regulation of Legal and Judicial Services Conference:
Comparative and International Perspectives,” Stein Center for Law and Ethics, Fordham Law
School, Dec. 8-9, 2017

Panelist, “Ethics in Legal Practice: An Update and Review of Recent Ethics Opinions in 2017,”
NYS Bar Ass’n, Albany, NY, Dec. 6, 2017

Moderator, “Ethics and Criminal Justice Hypotheticals,” Appellate Division, Third Department,
Albany, NY, Oct. 31, 2017




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Panel moderator, “Access to Justice and the Legal Profession in an Era of Contracting Civil
Liability,” Fordham Law School, Oct. 27, 2017

Panelist, “The Death of Conflicts,” Federal Bar Council Fall Bench & Bar Retreat, New Paltz,
NY, Oct. 22, 2013

Speaker, “The Right to Two Criminal Defense Lawyers,” Symposium on Disruptive Innovation
in Criminal Defense, Mercer University School of Law, Oct. 6, 2017

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 27, 2017

Presenter, “Comparative Approaches to Regulation and Protection of Lawyers,” 2017 Seasonal
Meeting of the NYSBA International Section, Antigua, Guatemala, Sept. 14, 2017

Panelist, “Prying Eyes: Think Confidential and Privileged Client Information is Safe at the
Border? Guess Again.,” ABA CLE Showcase Program, ABA 2017 Annual Meeting, NY, NY,
Aug. 11, 2017

Panelist, “Defending the Public’s Enemy: The Journey of Ramsay Clark,” 2017 Annual
Conference, Southeastern Association of Law Schools, Boca Raton, Florida, August 3, 2017

Discussant, “Discussion Group: Reflections on the 2016 ABA Report on the Future of Legal
Services in the United States,” 2017 Annual Conference, Southeastern Association of Law
Schools, Boca Raton, Florida, August 3, 2017

Discussant, “Discussion Group: Incorporating Developments in Forensic Science and
Technology into the Criminal Justice System,” 2017 Annual Conference, Southeastern
Association of Law Schools, Boca Raton, Florida, August 2, 2017

Discussant, “Discussion Group: Criminal Justice and Technology: Changes in Law, Practice, and
Culture,” 2017 Annual Conference, Southeastern Association of Law Schools, Boca Raton,
Florida, August 1, 2017

Moderator & organizer, “Discussion Group: Disruptive Innovation in Criminal Defense,” 2017
Annual Conference, Southeastern Association of Law Schools, Boca Raton, Florida, July 31,
2017

Co-presenter, “The President, the Department of Justice, and Prosecutorial Independence”
(work-in-progress), Legal Ethics Schmooze, UCLA, July 21, 2017

Panelist, “Ethics for OAG Lawyers,” Office of the NYS Attorney General, June 20, 2017




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Moderator, “A Difference of Opinion: Federal-State Conflict in Lawyer Ethics Matters,” ABA
43rd National Conference on Professional Responsibility, St. Louis, Missouri, June 2, 2017

Presenter, work-in-progress, “Academic Scholarship Roundtable,” ABA 43rd National
Conference on Professional Responsibility, St. Louis, Missouri, June 2, 2017

Presenter on Legal Ethics, Office of the Public Defender, Tel Aviv, Israel, May 22, 2017

“Candor to the Court and Client,” Annual Lecture on Legal Ethics, The David Weiner Center for
Lawyers’ Ethics and Professional Responsibility, The Haim Striks School of Law - The College
of Management and Academic Studies, Rishon LeZion, Israel, May 21, 2017

Moderator, “Ethical Issues in Criminal Defense and Prosecution: the Role of Rules, Standards,
Case Law and Professional Judgment,” ABA Criminal Justice Section Spring Meeting, Jackson
Hole, Wyoming, May 5, 2017

Co-presenter, ethics training, Federal Defender - Eastern District of Pennsylvania, Philadelphia,
PA, May 2, 2017

Panelist, “Common Ground on Criminal Discovery and the Future of Brady v. Maryland, 2017
Spring Symposium: Finding Common Ground: Preventing Errors in Criminal Justice, Quattrone
Center for the Fair Administration of Justice, University of Pennsylvania Law School, April 21,
2017

Moderator, “Working Ethically with Non-Lawyer Professionals in Public Interest Settings,”
Fordham Law School, March 30, 2017

Panelist, “Ethical Considerations for the Business and Corporate Attorney,” Cardozo Law
School, March 7, 2017

Panelist, “Timely Ethics Issues: Interacting With Witnesses, Firm General Counsel,” 2017
Winter Bench & Bar Conference, Federal Bar Council, Palm Springs, California, Feb. 24, 2017

Presenter, “The Challenges and Rewards of Teaching Legal Ethics,” 2017 Legal Ethics
Conference – New Challenges in Legal Ethics, California Western School of Law, Feb. 11, 2017

Presenter, Symposium, “Protect and Serve: Perspectives on 21st Century Policing,” Univ. of
Georgia School of Law, Jan. 27, 2017

Panelist, “The Attorney’s Role in Promoting a Strong Corporate Culture,” NYSBA Annual
Meeting, Business Law Section & Corporate Counsel Section, NY, NY, Jan. 25, 2017




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Co-presenter, “Immigration Ethics,” Justice AmeriCorps Year 3 National Training, Potomac,
Maryland, Jan. 11, 2017
Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 15, 2016

Panelist, “Managing Your Client’s Image in the Court of Public Opinion,” NYCLA, Nov. 16,
2016

Panelist, “Wearing Two Hats as a Neutral and an Attorney: How to deal with inconsistent
mandates in the ethical codes for lawyers and neutrals,” NYSBA Dispute Resolution Section Fall
Meeting, NY Law School, Oct. 28, 2016

Co-panelist, “Ethical considerations when representing clients with, or defending actions brought
by individuals with, mental disabilities and impairments,” Disability Law Forum, N.Y. City Bar,
Oct. 13, 2016

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 21, 2016

Moderator & organizer, “Discussion Group: Re-imagining the Ideal Role of Prosecutors,” 2016
Annual Conference, Southeastern Association of Law Schools, Amelia Island, Florida, August 6,
2016

Discussant, “The Future of Legal Ethics Scholarship: Are We in the End Days or Just Getting
Started?” 2016 Annual Conference, Southeastern Association of Law Schools, Amelia Island,
Florida, August 5, 2016

Organizer, The Ethics and Regulation of Lawyers Worldwide: Comparative and Interdisciplinary
Perspectives, Seventh biannual International Legal Ethics Conference, International Association
of Legal Ethics, New York, July 14-16, 2016

Co-presenter, “Rethinking Prosecutors’ Conflicts of Interest,” CrimFest, Cardozo Law School,
July 12, 2016

Presenter, “The Price of Judicial Economy in the US,” Workshop on “Too Few Judges?
Regulating the Number of Judges in Society,” International Institute for the Sociology of Law,
Oñati, Spain, July 1, 2016

Panelist, “Corruption Scandals, the Panama Papers, and the Transnational Lawyer in Latin
America: Strengthening the Profession through Better Ethics Standards,” NY City Bar, June 6,
2016




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Moderator, “The Decision-Making Conundrum When Representing a Child or Mentally
Impaired Adult,” ABA National Conference on Professional Responsibility, Philadelphia, PA,
June 3, 2016

Panelist, “Litigators’ Ethics: An Interactive Discussion of Problems of Confidentiality and
Disclosure,” 2016 Second Circuit Judicial Conference, Saratoga, NY, May 25, 2016
Moderator, “Ethics Gumbo: First You Make a Roux,” ABA National Legal Malpractice
Conference, New Orleans, Louisiana, April 28, 2016

Panelist, “Surveillance and the Attorney-Client Relationship: Recent International
Developments,” Seventh International Professional Responsibility Conference, Association for
Professional Responsibility Lawyers, Paris, France, April 13, 2016

Presenter, “Ethics in Class Actions: 2015-16 Update,” Institute for Law & Economic Policy,
22nd Annual Symposium, April 8, 2016, Miami Beach, Florida

Moderator, “Brandeis and Lawyering (II),” Conference on Louis D. Brandeis: An
Interdisciplinary Perspective, Touro Law Center, Mar. 31, 2016

Speaker, Georgetown Journal of Legal Ethics Symposium on “Remaining Ethical Lawyers in a
Changing Profession,” Georgetown Univ. Law Center, Mar. 18, 2016

Panelist, “Current Issues in Corporate Representation,” Cardozo Law School, Feb. 9, 2016

Panelist, “Watch Out Below! Avoiding Ethical Pitfalls in Class Action Litigation,” NYSBA
Antitrust Law Section, Annual Meeting, NY, NY, Jan. 28, 2016

Moderator, “Ethics in Criminal Practice, The Hardest Questions Today: A Conversation in
Honor of Monroe Freedman,” AALS Annual Conference, NY, NY, Jan. 7, 2016

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 11, 2015

Panelist, “Social Responsibility of Corporations,” CJS Global White Collar Crime Institute,
ABA Criminal Justice Section & KoGuan Law School, Shanghai, China, Nov. 20, 2015

Presenter & Facilitator, Professional Responsibility and Ethics in the Global Legal Market,
Moscow State University Law School, Moscow, Russia, Oct. 28-31, 2015

Panelist, “What Line? Reining in Prosecutorial Excesses: The Ethics and Strategy of
Negotiations,” NACDL’s 11th Annual White Collar Crime Seminar, Fordham Law School, Oct.
22, 2015




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Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 11, 2015

Discussant, “Keeping the Conversation Going on Intractable Problems in the Criminal Justice
System,” 2015 Annual Conference, Southeastern Association of Law Schools, Boca Raton,
Florida, August 1, 2015

Commentator, “Defense Attorneys,” CrimFest 2015, Cardozo Law School, July 20, 2015
Presenter, “Rethinking Prosecutors’ Conflicts of Interest,” 2015 Legal Ethics Schmooze,
Stanford Law School, June 25, 2015

Moderator, “Attorney Privilege and Work Product,” New York State-Federal Judicial Counsel &
the Second Circuit Judicial Counsel, Brooklyn, NY, June 18, 2015

Moderator, “Ethics and Corporate Social Responsibility,” Corporate Social Responsibility
Leadership Course, Fordham Law School, June 11, 2015

Organizer, moderator and presenter, “Criminal Justice Ethics Schmooze,” Fordham Law School
June 8-9, 2015

Moderator, “Ineffective Assistance of Counsel and Forensic Evidence,” 6th Annual Prescription
for Criminal Justice Forensics, ABA Criminal Justice Section & Louis Stein Center for Law and
Ethics, Fordham Law School, June 5, 2015

Panelist, “Ethics and Professionalism: Best Practices for Attorneys,” N.Y. City Bar, May 18,
2015

Panelist, “Ethical Issues in FCPA Compliance & Investigations,” Practical Advice from the
Front Lines,” Fordham Law School, May 12, 2015

Panelist, “Negotiation Ethics: Pitfalls and Rules,” NYSBA Committee on Women in the Law,
NYC, May 5, 2015

Speaker, Conference on “Reconsidering Access to Justice,” Texas A&M Law School, May 1,
2015

Co-interviewee, “The Power of the Prosecutor,” Talks on Law, recorded April 22, 2015,
available at: http://www.talksonlaw.com/talks/26

Moderator, Panel discussion: Thurgood Marshall’s Legacy, NYCLA, April 15, 2015

Moderator, “Hot Topics: Ethical Issues in Public Interest Lawyering,” Fordham Law School,
March 31, 2015



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                                         Appendix A

Speaker, “Lawyers as Lovers: Are We Romanticizing the Lawyer-Client Relationship?,”
Conference on Billy Joel & the Law, Touro Law School, March 22, 2015

Moderator, “Ethical Issues in Insurance Law: 2015 Update,” NYCLA, March 18, 2015

Panelist, “Developments in Ethics for Antitrust Lawyers,” ABA teleseminar, Feb. 24, 2015

Presenter, “Prosecutorial Accountability in the Information Age” (work-in-progress), faculty
workshop, Notre Dame Law School, Feb. 21, 2015

Panelist, “The Ethics of Conflicts of Interest,” Clifford Law Offices Continuing Legal Education
Program, Chicago, IL, Feb. 20, 2015

Panelist, “Current Ethical Issues in Corporate Representation,” Cardozo Law School, Feb. 11,
2015

Panelist, “The Ethical Minefields of Witnesses: A Refresher,” ABA Webinar, Dec. 19, 2014

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 16, 2014

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 30, 2014

Panelist, “Taz, Morality & Ethics,” The Taslitz Galaxy: A Gathering of Scholars at Howard,
Howard University School of Law, Sept. 19, 2014

Panelist, “Supreme Court Update and Other Notable Developments in Criminal Law,”
Southeastern White Collar Crime Institute, ABA Criminal Justice Section, Braselton, Georgia,
Sept. 12, 2014

Co-presenter, “Regulation of U.S. Prosecutors in the Information Age,” International Legal
Ethics Conference VI, London, England, July 11, 2014

Presenter, “Reforming the regulation of the prosecutors: A slightly comparative perspective,”
Conference of the International Working Group for Comparative Studies of the Legal
Professions, Frauenchiemsee, Germany, July 7, 2014

Panelist, “International Ethics,” Ninth Annual Fordham Law School Conference on International
Arbitration and Mediation,” June 12, 2014

Panelist, “Fifth Annual Prescription for Criminal Justice Forensics,” ABA Criminal Justice
Section, NY, NY, June 6, 2014

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Panelist, “Ethics of Working With Witnesses,” Professional Education Broadcast Network, May
16, 2014

Panelist, “Plenary: Twenty Years After the MacCrate Report: Revisiting the Continuum,” NCBE
Annual Admissions Conference, Seattle, WA, May 3, 2014

Moderator, “Conflicts: The Basics and Recent Developments,” Ethics for In-House Counsel:
New Developments & Future Challenges, Fordham Law School, March 20, 2014

Panelist, “Race and Access to Justice,” Georgetown Univ. Law Center, Washington, D.C.,
March 18, 2014

Co-speaker, “Professional Ethics for Public Interest Lawyers,” Brennan Center for Social Justice,
NY, NY, Feb. 28, 2014

Panelist, “Attorney Client Privilege and Selective Waiver in Bank Regulation,” Cardozo Law
School, Feb. 24, 2014

Panelist, “Who Are They to Judge? Ethical and Professionalism Issues Facing the Bench,” 1tth
Annual Legal Ethics & Professionalism Symposium, Univ. of Georgia Law School, Feb. 21,
2014

Panelist, “Bridge the Gap” C.L.E. Orientation Program, Committee on Character & Fitness
(Supreme Court, Appellate Division, First Judicial Department), NYCLA, Feb. 19, 2014

Moderator, “Ethical Choices in Dealing with Crime Victims: What is a Prosecutor, Defender and
Judge to Do?,” 2014 ABA Midyear Meeting, Chicago, IL, Feb. 7, 2014

Panelist, “Stop, Frisk & Judicial Independence: An Ethics CLE,” NY Chapters of the Puerto
Rican Bar, Federal Bar and National Bar Associations, U.S. Courthouse, NY, NY, Jan. 8, 2014

Commentator, “The Lost Lawyer and the Lawyer-Statesman Ideal: A Generation Later – the
Shifting Sands of Professional Identity,” AALS Annual Meeting, NY, NY, Jan. 4, 2014

Co-presenter, Workshop on Prosecutorial Ethics, Hitotsubashi Univ., Tokyo, Japan, Dec. 18,
2013

Co-presenter, Workshop on Prosecutorial Ethics, Japan Federation of Bar Associations, Tokyo,
Japan, Dec. 17, 2013

Presenter, “Comparing the Honesty and Candor Obligations of U.S. Prosecutors and Defense
Lawyers,” Chukyo Univ., Nagoya, Japan, Dec. 16, 2013



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Moderator, panel on “Unbundled Legal Services,” “Until Civil Gideon: Expanding Access to
Civil Justice,” Fordham Law School, Nov. 1, 2013

Moderator, “Ripped from the Headlines,” 9th Annual White Collar Seminar, NACDL,
Washington, D.C., Oct. 24, 2013

Panelist, Federal Criminal Practice Institute, New York County Lawyers’ Association, Oct. 19,
2013

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,”
Association of the Bar of the City of New York, Sept. 25, 2013

Moderator, “Criminal Discovery Under Brady v. Maryland: Current Developments, Association
of the Bar of the City of New York, Sept. 19, 2013

Moderator, “Navigating the Ethical Challenges in Counseling Unaccompanied Minors,” DCS
Legal Access Project Managers’ Meeting, Vera Institute of Justice, July 31, 2013

Presenter, Ethics Workshop, Annual Capital Defense Training Program, New York City Bar,
July 15, 2013

Panelist, “Culpability and White Collar Crime,” 2013 AALS Midyear Meeting, San Diego, CA,
June 10, 2013

Panelist, “The Ethics of Sub-Prime Lending,” conference on The Mortgage Crisis–Five Years
Later, Coalition for Debtor Education, Fordham Law School, June 3, 2013

Moderator, “Prosecutors’ Ethical and Professional Decision Making – Is it Unique?,” 39th ABA
National Conference on Professional Responsibility, San Antonio, TX, May 30, 2013

Co-presenter, “Hot Topics in Legal Ethics,” Fordham Law School, May 20, 2013

Panelist, “Criminal Law and Ethics,” NYCLA, April 23, 2013

Panelist, “Religion and the Practice of Law,” 2013 Conference on Religious Legal Theory,
Touro Law Center, April 11, 2013

Commentator, Conference on “The Ethical Infrastructure and Culture of Law Firms,” Hofstra
Law School, April 5, 2013

Presenter, “The Gideon Effect: Rights, Justice and Lawyers Fifth Years After Gideon v.
Wainwright,” Yale Law Journal Symposium, Yale Law School, March 9, 2013

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Panelist, “Complying with Brady and Strategies for Defense Counsel,” 27th Annual National
Institute on White Collar Crime, Las Vegas, Nevada, March 8, 2013

Panelist, “Ethics in White Collar Cases,” 27th Annual National Institute on White Collar Crime,
Las Vegas, Nevada, March 7, 2013

Presenter, “Imagining Plea Bargaining Without Competent Counsel: Justice Scalia’s Pursuit of
Less Perfect Justice,” conference on Plea Bargaining After Lafler and Frye, Duquesne Univ.
School of Law, March 1, 2013

Moderator, “The Business and Ethics of Managing a 21st Century Law Firm: New, Smart and
Ethical Business Models,” Fordham Law School, Feb. 26, 2013
Panelist, “Representing Financial Institutions and their Employees in SEC Enforcement
Actions,” ABA Section of Business Law, White Collar Crime Committee, NY, NY, Feb. 13,
2012

Speaker, “New Developments in Attorney-Client Privilege,” AALS 2013 Annual Meeting, New
Orleans, LA, Jan. 5, 2013

Chair and moderator, “Ethical Issues in Pro Bono Representation 2012,” PLI, Dec. 18, 2012

Panelist, “Ethical Issues for the Modern Day Prosecutor,” Kings County District Attorney’s
Office, Nov. 20, 2012

Panelist, “Navigating Ethical Waters: Obstruction of Justice, Destruction of Evidence and False
Statements,” 8th Annual White-Collar Seminar, NACDL, Fordham Law School, NY, NY, Nov.
15, 2012

Lecture, “Lawyers’ Professional Independence: Overrated or Undervalued?,” Miller-Becker
Center for Professional Responsibility Distinguished Lecture Series, Akron Law School, Nov. 9,
2012

Speaker, “Federal Criminal Discovery Reform: A Legislative Approach,” symposium on
Defining and Enforcing the Federal Prosecutor’s Duty to Disclose Exculpatory Information, the
13th Annual Georgia Symposium on Ethics and Professionalism, Mercer Law School, Oct. 5,
2012

Moderator, “Ethical Issues for Criminal Practitioners,” National Law Journal/Legal Times &
Fordham Law School, recorded webinar broadcast on Oct. 2, 2012

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2012,” Association of
the Bar of the City of New York, Sept. 12, 2012



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Speaker, “Lawyers’ Professional Independence: Is it undervalued or overrated?,” International
Legal Ethics Conference V, Banff, Alberta, July 13, 2012

Panelist, “Law Without Walls,” International Legal Ethics Conference V, Banff, Alberta, July
13, 2012

Presenter, “Ethical Practice in the Criminal Justice System: Finding Common Ground,” National
Institute for Teaching Ethics & Professionalism, Seattle, WA, June 22-24, 2012

Panelist, “Parallel Proceedings: Emerging Issues & Best Practices,” Association of the Bar of the
City of New York, June 13, 2012

Presenter, “Rehabilitating Lawyers: Perceptions of Deviance and Its Cures in the Lawyer
Disciplinary Process,” 2012 International Conference on Law & Society, Honolulu, HA, June 5,
2012

Panelist, “So You Think You’re Up-to-Date on Attorney Client Privilege & Confidentiality,”
38th ABA National Conference on Professional Responsibility, Boston, MA, June 1, 2012

Panelist, “Conflicts in the Face of Corporate Representations and Government Investigative
Techniques,” 1st Annual White Collar Crime Institute, Association of the Bar of the City of
New York, May 14, 2012

Panelist, “Conflicts and Choice of Law Updates,” Professional Responsibility and Legal Ethics:
Exploring the Similarities and the Differences Across Legal Systems, Association of
Professional Responsibility Lawyers International Conference, Istanbul, Turkey, May 4, 2012

Co-speaker, “Rehabilitating Lawyers: Perceptions of Deviance and its Cures in the Lawyer
Reinstatement Process,” The Law: Business or Profession? - The Continuing Relevance of Julius
Henry Cohen for the Practice of Law in the Twenty-First Century, Fordham Law School, April
24, 2012

Speaker, “The Flood of U.S. Lawyers: Natural Fluctuation or Professional Climate Change?,”
Too Many Lawyers? - Facts, Reasons, Consequences, and Solutions, International Institute for
the Sociology of Law, Oñati, Spain, April 20, 2012

Presenter, “Prosecutors and Professional Regulation,” faculty workshop, Fordham Law School,
March 22, 2012

Speaker, “Ethics,” Counseling Clients in the Entertainment Industry 2012, PLI, March 12, 2012

Panelist, “Ethics for Government Lawyers 2012,” PLI, March 9, 2012

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Speaker, “Ethics for Government Lawyers,” U.S. Environmental Protection Agency, Region 2,
Office of Regional Counsel, March 8, 2012

Moderator, “Top Ten Reasons You’ll Wish You had Become a Trust & Estates Lawyer: Ethical
Pitfalls and Blunders in White Collar Practice,” 26th National Institute on White Collar Crime,
ABA, Miami, Florida, March 1, 2012

Panelist, “Developments in Ethics for Antitrust Lawyers,” live webinar and teleconference, ABA
Section of Antitrust Law, Feb. 16, 2012

Panelist, “Prosecutorial Accountability in the Post-Connick v. Thompson Era: Reforms and
Solutions,” ABA Death Penalty Representation Project et al., New Orleans, Louisiana, Feb. 4,
2012

Speaker, “Ethical Issues in Federal Practice,” Current Developments in Federal Civil Practice
2012, PLI, Feb. 1, 2012

Panelist, “Technology in Your Practice - Trends, Tools and Ethics Rules,” NYSBA Annual
Meeting, Jan. 26, 2012

Panelist, “Rules of Professional Conduct and the Government Lawyer,” NYSBA Annual
Meeting, Jan. 24, 2012

Panelist, “Ethical Considerations in Setting Attorney Fees,” NYSBA Annual Meeting, Jan. 24,
2012

Speaker, “Government Lawyering,” 2012 Annual Meeting, AALS, Washington, D.C., Jan. 5,
2012

Chair and moderator, “Ethical Issues in Pro Bono Representation 2010,” PLI, Dec. 21, 2010

Panelist, “Ethical Issues with Group Representation,” LEAP conference on Civil Justice as
bedrock value in Difficult Times, Nov. 29, 2011

Panelist, “The Watergate CLE,” U.S. District Court - EDNY, Nov. 15, 2011

Panelist, “Future Ethics: Who Will Regulate Lawyers in 2020?,” New York Law School, Nov.
14, 2011

Panelist, “Community Prosecution & Community Defense,” Wake Forest Univ. School of Law,
Nov. 4, 2011




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Panelist, “Multi-jurisdictional rules of ethics and professional conduct: Coping with conflicting
legal rules and privileges in a global business environment,” German-American Lawyers’
Association, NY, Oct. 25, 2011

Panelist, “What to Do? Has the Potential Client (Who Will Not Disclose) Intentionally
Misrepresented?”, Working Group on Legal Opinions Fall 2011 Seminar, NY, Oct. 25, 2011

Panelist, “Sentencing Advocacy,” 2011 Federal Criminal Practice Institute, NYCLA, Oct. 15,
2011

Moderator, “Representing Clients With Diminished Capacity,” Association of the Bar of the City
of New York, Oct. 13, 2011

Moderator, “The ABCs of D-efense in an E-lectronic Age: Ethics and Strategies,” 7th Annual
White Collar Seminar, NACDL, Fordham Law School, Sept. 22, 2011

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2011,” Association of
the Bar of the City of New York, Sept. 15, 2011

Panelist, “Alternative Litigation Financing: A New Way to Help Pay for Lawsuits and Stay Out
of Trouble While Doing It,” NYCLA, Sept. 14, 2011

Panelist, “The Ethical and Practical Challenges of Representing a Controversial Client,” Federal
Bar Council & Stein Center, E.D.N.Y. federal courthouse, June 29, 2011

Panelist, “What is Good Lawyering?,” Conference on Padilla and the Future of the Defense
Function, NACDL, Cardozo Law School, June 20, 2011

Luncheon speaker, “Staying Ahead of the Curve: What Every Criminal Defense Lawyer Needs
to Know,” NYSBA, Albany, NY, June 17, 2011

Panelist, “Tackling Ethical Issues Arising in Criminal Cases,” NYCLA, June 16, 2011

Panelist, “Third Party Funding of International Arbitration Claims: The Newest ‘New New
Thing,’” NYSBA Dispute Resolution Section & Fordham Law School ADR and Conflict
Resolution Program, June 15, 2011

Panelist, “How the Rules of Professional Conduct Apply to Government Lawyers,” Seventeenth
Annual Seminar on Ethics in New York City Government, NYC COIB & Center for New York
City Law, New York Law School, May 17, 2011

Panelist, “Hypothetically Speaking II: Issues in the Attorney-Client Relationship under the Rules
of Professional Conduct,” Association of the Bar of the City of New York, May 16, 2011

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Moderator, “Ethics Update: Perspectives from the Federal and State Judiciary,” N.Y.S. Federal
Judicial Council - Advisory Group, E.D.N.Y. federal courthouse, May 11, 2011

Moderator, “Ethics Update: Perspectives from the Federal and State Judiciary,” N.Y.S. Federal
Judicial Council - Advisory Group, S.D.N.Y. federal courthouse, May 10, 2011

Panelist, “An Overview of Attorney Error: Malpractice, Breach of Ethical Rules and Ineffective
Assistance of Counsel,” Mental Hygiene Legal Service, May 3, 2011 (videotape)

Panelist, “The Top Five Ethical Violations and Resulting Claims for Legal Malpractice,” Spring
2011 National Legal Malpractice Conference, ABA Standing Committee on Lawyers’
Professional Liability, Boston, MA, April 28, 2011

Panelist, “Anatomy of a Trial: Young Lawyer Trial Skills Training,” ABA Section of Litigation
& Criminal Justice Section Annual CLE Conference,” Miami, Florida, April 14, 2011

Panelist, “Ethics,” IP Enforcement and Litigation 2011: Civil and Criminal Update, PLI, March
30, 2011

Panelist, “Ethical Implications of Legal Aid and Pro Se Assistance,” Legal Aid Society, March
18, 2011

Speaker, “Criminal Defense Ethics,” 25th Annual Metropolitan New York Trainer, NYS
Defenders Ass’n, March 12, 2011

Moderator, “Criminal Defense?: The Ethical and Legal Line Between Zealous Advocacy and
Obstruction of Justice ,” 25th National Institute on White Collar Crime, ABA Criminal Justice
Section, Mar. 3, 2011, San Diego, CA

Panelist, “2011 Ethical Issues,” 2011 Winter Bench & Bar Conference, Federal Bar Council, Los
Cabos, Mexico, Feb. 21, 2011

Keynote Speaker, “Ted Schneyer’s Impact on Legal Ethics Scholarship,” The Ted Schneyer
Ethics Symposium: Lawyer Regulation for the 21st Century, Univ. Of Arizona, James E. Rogers
College of Law, Jan. 28, 2011

Panelist, “Ethical Pitfalls for Business Lawyers,” Business Law Section, NYSBA Annual
Meeting, Jan. 26, 2011

Co-speaker, “Legal Ethics & Professionalism,” Nineteenth Annual London MCLE Fair, CLE
Europe Limited, Jan. 15, 2011




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Chair and moderator, “Ethical Issues in Pro Bono Representation 2010,” PLI, Dec. 21, 2010

Moderator, “Ethical and Privilege Issues for Pharmaceutical Whistleblowers Counsel,”
Institutional Investor Educational Foundation, New York, NY, Dec. 9. 2010

Moderator, program on ethics and professionalism in criminal prosecution and defense,
Multnomah County Courthouse, Portland, OR, Dec. 3, 2010

Panelist, “Ethics and the Construction Lawyer,” NYCLA, Nov. 30, 2010

Speaker, “Ethical Practices for the Modern Prosecutor,” Brooklyn District Attorney’s Office.
Oct. 26, 2010

Speaker, “Prosecutive Ethics,” annual conference, National Association of Former United States
Attorneys, Oct. 9, 2010

Moderator, “A Prosecutor’s Brady/Discovery Obligations For Production of Documents,” ABA
Criminal Justice Section White Collar Crime Mid-Atlantic Regional Committee, Widener Law
School, Wilmington, DE, Oct. 7, 2010

Panelist, “”Ethics and Litigation for Today’s Trial Counsel,” 2nd Annual Litigation Summit,
Oct. 6, 2010

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2010,” Association of the
Bar of the City of New York, September 15, 2010
Panelist, “Hot Ethics Issues for Young Trial Lawyers (and the Young at Heart),” ABA
ANNUAL Meeting 2010, San Francisco, CA, August 7, 2010

Speaker, “Criminal; Defense Ethics,” New York State Defenders Association 43rd Annual
Meeting & Conference, Saratoga Springs, NY, July 27, 2010

Panelist, “Lawyers in Context: Ethical Decision Making in Practice,” International Legal Ethics
Conference IV, Stanford Law School, July 17, 2010

Moderator, “Prosecutors and their Disclosure Duties: A Regulatory Conundrum,” 36rd National
Conference on Professional Responsibility, ABA, June 3, 2010

Panelist, “Hypothetically Speaking: Considering Issues for the Practitioner under the New Rules
of Professional Conduct,” Association of the Bar of the City of New York, May 17, 2010

Panelist, “Bloomberg Corporate Internal Investigations: Ethical Considerations Seminar 2010,”
Bloomberg, NY, March 11, 2010



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Panelist, “Protecting the Attorney-Client Privilege and Attorney Work Product,” 24th Annual
National Institute on White Collar Crime, Miami, Florida, Feb. 25, 2010

Panelist, “Half a Century of Advice,” Committee on Professional Ethics, NYSBA Annual
Meeting, Jan. 29, 2010




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                                        Appendix B

Court Orders

2022.05.10 (Dkt. 001, In re Vague) Order re Apr. 18, 2022 Order by Judge Burke

2022.05.19 (Dkt. 006, In re Vague) Order re Sequestration of Proceedings

2022.06.17 (Dkt. 019, In re Vague) Order re June 17 Status Conference

2022.07.08 (Dkt. 022, In re Vague) Order re Preliminary Proceeding

2022.07.25 (Dkt. 040, In re Vague) Order re Gag Order

2022.07.25 (Dkt. 041, In re Vague) Order re Protective Order

2022.09.23 (Dkt. 059, In re Vague) Order re Termination of Certain Parties

2023.10.03 (Dkt. 070, In re Vague) Final Report of Inquiry

2023.11.03 (Dkt. 099, In re Vague) Order Reopening Case

2023.10.04 (Dkt. 318, Boe v. Marshall) Order re Dissemination of Final Report

2023.10.04 (Dkt. 319, Boe v. Marshall) Our Emergency Motion to Stay Dissemination

2023.10.04 (Dkt. 320 Boe v. Marshall) Order re Transcript Citations for Motion to Stay
           Dissemination

2023.10.27 (Dkt. 338, Boe v. Marshall) Order re Filing of Final Report

2023.10.27 (Dkt. 340, Boe v. Marshall) Order Unsealing Filings

2024.02.21 (Dkt. 406, Boe v. Marshall) Order to Show Cause

2024.03.29 (Dkt. 459, Boe v. Marshall) Order Unsealing Report and Filings

2024.04.05 (Dkt. 466, Boe v. Marshall) Order re Joint Motion for Clarification

2024.05.01 (Dkt. 478, Boe v. Marshall) Supplemental Order to Show Cause: LaTisha Faulks

2024.02.21 (Dkt. 481, Boe v. Marshall) Supplemental Order to Show Cause: Carl Charles

2024.02.21 (Dkt. 486, Boe v. Marshall) Supplemental Order to Show Cause: James Esseks

Court Filings

2022.05.19 (Dkt. 003, In re Vague) Pre-Hearing Submission of Walker Counsel

2022.06.07 (Dkt. 013, In re Vague) Motion to Obtain Transcripts

2022.06.24 (Dkt. 021, In re Vague) Joint Submission of the Parties

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2022.07.13 (Dkt. 023, In re Vague) Motion to Modify Gag Order

2022.07.13 (Dkt. 024, In re Vague) Motion to Release Transcript

2022.07.15 (Dkt. 025, In re Vague) Motion to Release Transcript

2022.07.18 (Dkt. 026, In re Vague) Joinder to Motion to Release Transcript

2022.07.19 (Dkt. 027, In re Vague) Joint Motion for Protective Order

2022.07.20 (Dkt. 028, In re Vague) Motion to Clarify Scope of the Panel’s Gag Order

2022.07.21 (Dkt. 032, In re Vague) Motion to Terminate Inquiry

2022.07.21 (Dkt. 034, In re Vague) Motion for Protective Order

2022.07.22 (Dkt. 035, In re Vague) Joint Motion to Stay Proceedings

2022.07.22 (Dkt. 037, In re Vague) Motion for Reconsideration of Order Denying Counsel
           Access to Court Transcripts

2022.07.22 (Dkt. 038, In re Vague) Joinder to Motion to Terminate Inquiry

2022.07.22 (Dkt. 039, In re Vague) Joinder to Motion to Stay Proceedings

2022.08.12 (Dkt. 054, In re Vague) Motion for Access by Counsel Only to Transcript

2022.11.08 (Dkt. 069, In re Vague) Respondents’ Report Regarding Post-Hearing Procedure

2023.10.16 (Dkt. 321, Boe v. Marshall) Brief in Support of Motion to Stay Dissemination

2023.10.23 (Dkt. 328, Boe v. Marshall) Motion to Stay Proceedings Related to In Re Vague

2023.10.24 (Dkt. 329, Boe v. Marshall) Motion to Stay Proceedings Relating to In Re Vague

2023.10.25 (Dkt. 331, Boe v. Marshall) Joinder in Emergency Motion to Stay Dissemination

2023.10.25 (Dkt. 332, Boe v. Marshall) Motion to Stay Proceedings Related to In re Vague

2023.10.26 (Dkt. 333, Boe v. Marshall) Joinder to Emergency Motion to Stay Dissemination of
           Report

2023.10.26 (Dkt. 336, Boe v. Marshall) State’s Response to Motion to Stay Dissemination of
           Report

2023.11.10 (Dkt. 356, Boe v. Marshall) Respondents’ Post-Hearing Brief

2023.11.10 (Dkt. 359, Boe v. Marshall) Memorandum of Law in Support of Maintaining Seal



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2023.11.17 (Dkt. 370, Boe v. Marshall) Post-Hearing Memorandum of Law

2024.03.06 (Dkt. 421, Boe v. Marshall) Motion to Lift Sequestration

2024.03.06 (Dkt. 423, Boe v. Marshall) Joint Motion to Clarify Order to Show Cause

2024.03.06 (Dkt. 425, Boe v. Marshall) Objection to Order to Show Cause

2024.03.08 (Dkt. 437, Boe v. Marshall) Motion for Leave to Submit Additional Evidence

Hearing Transcripts

2022.05.20 Evidentiary Hearing Transcript (Justice R. Bernard Hardwood)

2022.05.20 Evidentiary Hearing Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

2022.06.17 Status Conference Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

2022.08.03 Evidentiary Hearing Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

2022.08.04 Evidentiary Hearing Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

2022.11.02 Evidentiary Hearing Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

2022.11.03 Evidentiary Hearing Transcript (United States District Judges W. Keith Watkins, R.
           David Proctor, Jeffrey U. Beaverstock)

Declarations

2022.07.25 Declaration of Sarah Warbelow

2022.07.26 Declaration of Shannon Minter

2022.07.26 Declaration of Diego A. Soto

2022.07.27 Declaration of Tara Borelli

2022.07.27 Declaration of Jeffrey P. Doss

2022.07.27 Declaration of Melody H. Eagan

2022.07.27 Declaration of James Esseks

2022.07.27 Declaration of Lynly S. Egyes

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2022.07.27 Declaration of Kathleen Hartnett

2022.07.27 Declaration of Jennifer Levi

2022.07.27 Declaration of Scott D. McCoy

2022.07.27 Declaration of Asaf Orr

2022.07.27 Declaration of Valeria M. Pelet del Toro

2022.07.27 Declaration of Brent P. Ray

2022.07.27 Declaration of Michael B. Shortnacy

2022.07.27 Declaration of Julie Veroff

2022.07.27 Declaration of Cynthia Cheng-Wun Weaver

2022.07.28 Declaration of Amie A. Vague

2022.07.29 Declaration of Milo R. Inglehart

2022.08.01 Declaration of Carl S. Charles

2022.08.01 Declaration of Abigail Hoverman Terry

2022.08.01 Supplemental Declaration of Julie Veroff

2024.05.07 Supplemental Declaration of Carl S. Charles

2024.05.07 Declaration of LaTisha (“Tish”) Gotell Faulks

2024.05.08 Supplemental Declaration of James D. Esseks

Client Materials

ACLU Agreement for Legal Representation

Secondary Sources

8 James Wm. Moore et al., Moore’s Federal Practice—Civil § 41.70 (3d ed. 2019)

Alex Botoman, Divisional Judge-Shopping, 49 COLUM. HUM. RTS. L. REV. 297, 320 (2018)

Gregory P. Joseph, Sanctions: The Federal Law of Litigation Abuse § 27 (4th ed. 2012)

Marcel Kahan & Troy A. McKenzie, Judge Shopping, 13 J. Legal Analysis 341 (2021)




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                                        Appendix C

                                      Recent Testimony

•   Ad Astra Recovery Services, Inc. v. Heath et al., Case No. 18-1145-JWB-ADM, D. Kan.,
    Nov. 28, 2021 Hearing

•   Curtis James Jackson III v. Reed Smith LLP & Peter Raymond, Bankr. Ct., (D. Conn., New
    Haven Div., Case No. 17-02005 (AMN), July 18, 2022 Hearing

•   Halperin v. Arawak IX et al., Adv. Proc. Case No. 21-51412-BLS, Bankr. Ct., D. Del., Nov.
    30, 2022 Deposition

•   Becker Organization v. Sharp Office Holdings, LLC, Case No. ESX-L-1882-18, NJ Superior
    Court, Dec. 13, 2022 Deposition

•   Roche Freedman LLP v. Cyrulnik, Case No. 1:21-cv-01746-JGK (SDNY), March 14, 2023
    Deposition

•   Timothy Saunders v. John Q. Hamm, et al., Case No. 2:20-CV-00456-WKW-JTA, M.D.
    Ala., May 9, 2023 Deposition

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    April 24, 2024 Evidentiary Hearing




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